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                        Ex. A
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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                          MDL NO. 2492
                                                          Case No. 13-cv-09116
   IN RE: NATIONAL COLLEGIATE
 ATHLETIC ASSOCIATION STUDENT-
                                                          Judge John Z. Lee
 ATHLETE CONCUSSION LITIGATION
                                                          Magistrate Judge Brown

            DECLARATION OF STEVE W. BERMAN IN SUPPORT OF
         APPLICATION FOR APPOINTMENT OF STEVE W. BERMAN OF
     HAGENS BERMAN SOBOL SHAPIRO LLP AS PLAINTIFFS’ LEAD COUNSEL

         I, Steve W. Berman, declare as follows:

         1.       I am an attorney with Hagens Berman Sobol Shapiro LLP (“Hagens Berman”), an

attorney for plaintiffs in the above captioned case. I have full knowledge of the matters stated

herein and could and would testify hereto.

         2.       I am the managing partner of Hagens Berman, and one of its founding members.

Attached to my declaration as Exhibit 1 is a true and correct copy of Hagens Berman’s firm

profile, which describes some of HBSS’s experience, significant cases and victories, and

contains profiles of the attorneys who are or are expected to be assigned to work on this case

should we be appointed lead counsel. Those attorneys include myself, my partner Elizabeth A.

Fegan, and associates Daniel J. Kurowski and Thomas E. Ahlering.

A.       Hagens Berman Has Demonstrated Its Commitment to Success in this Matter.

         3.       This MDL proceeding arises from claims surrounding the National Collegiate

Athletic Association’s negligence and failure to implement regulations that would properly

protect student-athletes from the risks associated with concussions and/or manage those risks to

properly respond to the medically proven fact that repetitive concussions would lead to

neurocognitive injuries in many players. My firm filed a complaint against the National


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Collegiate Athletic Association on November 21, 2011 (Arrington, et al. v. National Collegiate

Athletic Ass’n, No. 11-cv-06356 (N.D. Ill.) (“Arrington”).

         4.       From 2011 through January 31, 2014, Hagens Berman has invested more than

8,000 hours and invested more than $400,000 in out-of-pocket costs on a wholly contingent

basis. A brief breakdown of our work includes:

               More than two dozen oral meet and confers with defense counsel and third parties
                regarding discovery requests;

               The negotiation of 97 search terms for NCAA electronically-stored information;

               Nine lawyers spent at least 2,314 hours reviewing the 29,502 documents (176,849
                pages) produced by the NCAA from 14 NCAA custodians and central libraries;

               Three lawyers spent more than 209 hours reviewing the plaintiffs’ emails and
                documents, and produced 3,842 documents (10,144 pages) in response to NCAA
                requests;

               43 third parties produced 8,124 documents (28,485 pages), which were reviewed
                over a period of 400 hours by seven lawyers;

               Hagens Berman took 10 depositions of the NCAA’s fact witnesses, including two
                experts on NCAA committees, expending more than 200 hours;

               The NCAA deposed the four Lead Plaintiffs and one absent class member;

               Hagens Berman spent more than 375 hours drafting the Proffer of Facts in Support
                of Class Certification, and more than 700 hours researching and drafting Plaintiffs’
                Motion for Class Certification;

               Excluding mediation-related work, Hagens Berman spent 110+ hours working with
                their expert, Dr. Cantu, and Dr. Cantu has spent approximately 85 hours working on
                his report or consulting with us related to his report.

Hagens Berman’s work thus weighs heavily in support of reappointment as lead counsel.

         5.       Likewise, Hagens Berman has engaged in 10 months of settlement negotiations

with the NCAA, resulting in a Term Sheet dated February 7, 2014 that will provide a medical

monitoring program to all current and former student-athletes.




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         6.       Moreover, Hagens Berman has spent the last three months consulting with the

newly-filed medical monitoring Plaintiffs’ counsel to address any concerns that they may have

with respect to the settlement. Accordingly, it is in the best interests of the Class to continue to

be represented by Hagens Berman.

B.       Hagens Berman’s Professionalism and Professional Experience

         7.       I believe that Hagens Berman is supremely well qualified, and has the ability and

experience necessary to prosecute a case of this magnitude and complexity both effectively and

efficiently. As detailed further in the firm résumé (Exhibit 1 to my declaration), Hagens Berman

was founded 20 years ago, and has been recognized as a premier plaintiffs’ class action firm in

the country by National Law Journal for four consecutive years. Hagens Berman has 59 lawyers

in nine offices across the country, including an office in Chicago, which will enable Hagens

Berman to employ its resources effectively for the Class.

         8.       Hagens Berman’s qualifications and proven track record have prompted courts to

appoint the firm as lead class counsel in a string of high-profile contests. Hagens Berman was

selected as lead class counsel among competing firms in Toyota Unintended Acceleration

Litigation and Optical Disk Drive Antitrust Litigation in 2010, E-Books Antitrust Litigation in

2011, and Hotels Antitrust Litigation and Lithium Ion Antitrust Litigation in 2013. True and

correct copies of the orders appointing Hagens Berman as lead counsel in each of these cases are

attached to my declaration as Exhibits 2-6, respectively:

         Exhibit 2         Order No. 2: Adoption of Organization Plan and Appointment of
                           Counsel, In re: Toyota Motor Corp. Unintended Acceleration
                           Mktg., Sales Practices & Prods. Liab. Litig., No. 8:10ML2151 JVS
                           (FMOx) (C.D. Cal. May 14, 2010), Dkt. # 169, at 6;

         Exhibit 3         Memorandum Opinion, In re: Optical Disk Drive Prods. Antitrust
                           Litig., No. M:10-2143 VRW (N.D. Cal. June 4, 2010), Dkt. # 96, at
                           1, 7-9;



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         Exhibit 4         Case Management Order, In re: Electronic Books Antitrust Litig.,
                           No. 11 MD 2293 (DLC) (S.D.N.Y. Dec. 21, 2011), Dkt. # 23, at 1;

         Exhibit 5         Order Appointing Plaintiffs’ Interim Lead and Liaison Counsel, In
                           re: Online Travel Co. (OTC) Hotel Booking Antitrust Litig., No.
                           3:13-cv-3515-B (N.D. Tex. March 1, 2013), Dkt. # 47, at 1; and

         Exhibit 6         Order Appointing Interim Co-Lead Counsel and Liaison Counsel
                           for Direct Purchaser Plaintiffs and Appointing Interim Co-Lead
                           Counsel and Liaison Counsel for Indirect Purchaser Plaintiffs, In re:
                           Lithium Ion Batteries Antitrust Litig., No. 13-MD-2420- YGR (N.D.
                           Cal. May 17, 2013), Dkt. # 194, at 2.
         9.       Moreover, courts nationwide recognize Hagens Berman as “truly extraordinary in

terms of professional competence, perseverance, and diligence.” Ex. 7 (Transcript of

Proceedings, In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices, &

Prods. Liab. Litig., No. MDL-10-2151-JVS (FMOx) (C.D. Cal. July 19, 2013), at 39) (emphasis

added). Hagens Berman, as lead class counsel, achieved a settlement valued at $1.6 billion in the

Toyota Unintended Acceleration Litigation, deemed by Judge Selna to be “extraordinary in that

every single dollar of the cash funds will go to class members.” Ex. 7, at 38.

         10.      Similarly, Judge Milton Shadur recently called Hagens Berman “a clear choice”

to be appointed sole lead counsel in an MDL, and Judge Andersen has praised Hagens Berman as

being “great lawyers and I actually even think you are better people….” See Ex. 8

(Memorandum Order, In re: Stericycle, Inc., Sterisafe Contract Litig., No. 13 C 5795 (N.D. Ill.

Oct. 11, 2013), Dkt. # 56, at 6); Ex. 9 (Transcript of Proceedings, Wiginton et al. v. CB Richard

Ellis, Inc., No. 02 C 6832 (N.D. Ill. Jan. 9, 2008), at 15).

         11.      Among Hagens Berman’s recent notable class action successes are:

                 In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices &
                  Prods. Liab. Litig., No. 8:10ML2151 JVS (FMOx) (C.D. Cal.), in which Judge
                  Selna sua sponte identified me as a presumptive co-lead counsel without
                  application by Hagens Berman when Judge Selna was assigned the Toyota MDL,
                  in which I negotiated a settlement returning Class members 100% of the value of
                  their claims;


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                 In re Charles Schwab Corp. Secs. Litig., No. 08-cv-1510 (N.D. Cal.), a recent
                  securities class action that settled during the course of argument on in limine
                  motions on the eve of trial for approximately $235 million or a 42.5% recovery
                  for the federal class and an 80% recovery for the California class;

                 In re Pharm. Indus. Average Wholesale Price Litig., MDL No. 1456, No. 01-
                  12257-PBS (D. Mass.) (“AWP Litig.”), where I tried the class case against four
                  manufacturers and successfully argued the appeal of the verdict before the First
                  Circuit; and

                 New England Carpenters v. First DataBank, et al., No. 05-11148-PBS (D.
                  Mass.), where Hagens Berman achieved a $350 million settlement 11 days before
                  trial was scheduled to start on behalf of a nationwide class of private payors that
                  purchased prescription brand name-drugs.

         12.      Illustrative of the firm’s excellence is the landmark settlement valued at $1.6

billion in the Toyota Unintended Acceleration Litig. In granting final approval to that settlement,

Judge Selna stated:

                  Well, let me make a few concluding remarks. I reaffirm my
                  conclusion that this settlement is fair, adequate, and reasonable.
                  Moreover, it’s extraordinary. *** It’s extraordinary that every
                  single dollar allocated for distribution is going to a class member.
                                            *       *       *
                  It’s also been extraordinary in the way this case has been presented
                  to me. I have been in many large cases on both sides of the bench.
                  I know extraordinary counsel when I see extraordinary counsel,
                  and the efforts here on both sides have been truly extraordinary
                  in terms of professional competence, perseverance, and diligence.

Ex. 7, at 38-39 (emphasis added).

         13.      I was also appointed as a special assistant attorney general for the states of

Washington, Arizona, Illinois, Indiana, New York, Alaska, Idaho, Ohio, Oregon, Nevada,

Montana, Vermont and Rhode Island in the landmark Tobacco Litigation. That case resulted in

the largest settlement in history, which occurred while I was in trial in State of Washington, et al.

v. Philip Morris, et al. As the State of Illinois’ national counsel, I helped Illinois reach a

settlement of approximately $9 billion, the largest in the State’s history.



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         14.      Hagens Berman has had numerous other successes in large-scale class action

cases – too many to list exhaustively. Those successes include: In re Visa-MasterCard Antitrust

Litigation, where Hagens Berman served as co-lead counsel and recovered the largest antitrust

settlement in history – valued at $27 billion; Enron ERISA Litigation, where Hagens Berman is

co-lead counsel in the ERISA litigation that has recovered in excess of $350 million; Tenet

Healthcare Litigation, where Hagens Berman obtained a settlement – the first of its kind – on

behalf of a class of 2 million uninsured patients in 19 different states.

         15.      Hagens Berman’s success comes not only from settlements, but also from taking

cases to trial. Hagens Berman is one of the few plaintiffs’ firms in the United States that often

has taken complex civil litigation, including class actions, to trial. Class action cases that Hagens

Berman has tried include In re Neurontin Mktg., Sales Practices, & Prods. Liab. Litig., MDL

No. 1629 (D. Mass.); Williams v. The Boeing Co., No. C98-761 P (W.D. Wash.); In re

Burlington N. & Santa Fe Railway Co. Emp. Settlement Agreements Litig. (W.D. Wash.); AWP

Litig., No. 01-12257-PBS (D. Mass.), and Kucera, et al. v. The State of Washington Dep’t of

Transp. & Washington State Ferries, No. 99-2-01161-1 (King Cty. Sup. Ct.).

         I declare under penalty of perjury under the laws of the State of Washington that the

foregoing is true and correct. Executed this 9th day of May, 2014 at Seattle, Washington.



                                               By:     /s/ Steve W. Berman
                                                       Steve W. Berman




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                                 CERTIFICATE OF SERVICE

         The undersigned, an attorney, hereby certifies that on May 9, 2014, a true and correct

copy of the foregoing Declaration of Steve W. Berman in Support of Application for

Appointment of Steve W. Berman of Hagens Berman Sobol Shapiro LLP as Plaintiffs’ Lead

Counsel and all exhibits thereto were filed via CM/ECF, which caused notice to be sent to all

counsel of record.


                                              By:     /s/ Steve W. Berman
                                                      Steve W. Berman




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INTRODUCTION
3        The Firm
4        Major Successes




PRACTICE AREAS
Hagens Berman has a diverse practice and regularly represents plaintiffs in a wide variety of cases that do not neatly
fit into specific practice groups. However, most of our work can be categorized into the following practice areas:

5        Investor Fraud – Individual and Class Action Litigation
7        ERISA/Retirement Plan Protection
8        Antitrust
10       Consumer Protection – General Class Litigation
12       Consumer Protection – Defective Product Litigation
13       Consumer Protection – Drugs and Supplement Litigation
15       Employment Litigation
17       Civil and Human Rights
19       Whistleblower Litigation
21       Governmental Representation
23       Personal Injury and Abuse
24       Intellectual Property
25       Lending and Mortgage Fraud




HAGE NS BERM A N S OB OL S H A P I RO LLP
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HAGENS BERMAN




     INTRODUCTION The Firm

     Hagens Berman Sobol Shapiro LLP was founded in 1993 with one purpose: to help victims with claims of fraud and
     negligence that adversely impact a broad group of people. We represent plaintiffs in complex class-action and                  3
     multi-party litigation protecting investors, inventors, whistleblowers, consumers, workers, and the environment.

     We are one of the nation’s leading firms in these fields, and have earned an international reputation for excellence
     and innovation.

     Our Focus. Our main focus is to represent plaintiffs in securities and investment fraud, product liability, tort, antitrust,
     consumer fraud, employment, whistleblower, intellectual property, environmental, and employee pension protection
     cases. Our firm is particularly skilled at managing multi-state and nationwide class actions through an organized,
     coordinated approach that implements an efficient and aggressive prosecutorial strategy in order to place maximum
     pressure on the defendant.

     We Win. We believe excellence stems from a commitment to try each case, vigorously represent the best interests
     of our clients, and obtain maximum recovery. We believe we have tried a higher percentage of cases than our
     competition. Our opponents know this, respect our skills and recognize our track record of achieving top results.

     Incentivized to Succeed. Winning is especially important to Hagens Berman because our compensation depends
     so much on our performance. We devote approximately 95 percent of our time to litigation under fee agreements
     that tie our pay to the results we achieve, not to the hours we bill. We have developed innovative contingent- and
     flatfee arrangements with many clients, including partial contingent fees that reduce our hourly rates for a stake in the
     outcome. We are willing to use reverse contingent fee arrangements for defending cases where the amount we save
     our clients determines our compensation.

     A Nationwide Reach. The scope of our practice is truly nationwide. We have flourished through our network of
     offices in Seattle, Boston, Chicago, Colorado Springs, Los Angeles, New York, Phoenix, San Francisco
     and Washington, D.C. Our reach is not limited to the cities where we maintain offices. We have cases pending in
     courts across the country, with substantial activity in California, New York, Washington, Arizona, Illinois and Idaho.




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Visa-MasterCard Antitrust Litigation –                   McKesson Drug Litigation –

The firm served as co-lead counsel                       Hagens Berman was lead counsel
in the largest antitrust settlement in                   in these racketeering cases against
history – valued at $27 billion.                         McKesson for drug pricing fraud that
                                                         settled for more than $444 million on
                                                         the eve of trials.




State of Washington, et al. v. Philip Morris, et al. –


Hagens Berman represented 13 states in the largest
recovery in litigation history – $206 billion.


DRAM Antitrust Litigation –                              Average Wholesale Price Drug Litigation –

The firm was co-lead counsel, and the                    Hagens Berman is co-lead counsel
case settled for $345 million in favor of                in this ground-breaking drug pricing
purchasers of dynamic random access                      case against the world’s largest
memory chips (DRAM).                                     pharmaceutical companies, resulting in
                                                         a victory at trial. The court approved a
                                                         total of $338 million in settlements.

Enron ERISA Litigation –

Hagens Berman was co-lead counsel in
this ERISA litigation, which recovered                   Lupron Consumer Litigation –

in excess of $250 million, the largest                   A $150 million settlement on behalf
ERISA settlement in history.                             of patients using Lupron for prostate
                                                         cancer.


Charles Schwab Securities Litigation –

The firm was lead counsel in this action                 Expedia Hotel Taxes and Fees Litigation –

alleging fraud in the management of the                  Hagens Berman obtained summary
Schwab YieldPlus mutual fund; a $235                     judgment in this class action to recover
million class settlement was approved                    deceptive service fees and settled the
by the court.                                            case for $123.4 million.
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    HAGENS BERMAN




         PRACTICE AREAS Investor Fraud
                        Individual and Class Action Litigation


5        Investing is a speculative business involving a wide variety of risks, and sound investment decisions can only be
         made when you have full disclosure of accurate information. No money manager, retirement fund or individual
         investor should suffer undue risk or incur losses due to misrepresentations related to the investment at issue.

         Our attorneys work for institutional and individual investors defrauded by unscrupulous corporate insiders and
         mutual funds. The firm vigorously pursues fraud recovery litigation, forcing corporations and mutual funds to answer
         to deceived investors.

         Hagens Berman is one of the country’s leading securities litigation firms and advises clients in both individual and
         class-action cases. The firm has the experience, dedication, and a team with the horsepower required to drive com-
         plex cases to exemplary outcomes. Our attorneys are authorities in a wide array of issues unique to federal and state
         securities statutes and related laws. We also use a variety of highly experienced experts as an integral part of our
         prosecution team.

         Some of the firm’s more noteworthy successes on behalf of our investor clients include:

             Charles Schwab Securities Litigation – The firm was lead counsel in this action alleging fraud in the
             management of the Schwab YieldPlus mutual fund. The firm secured a $235 million class settlement for investors,
             a nearly unheard of recovery as a percentage of total losses.

              Oppenheimer – The firm was additional counsel for the lead plaintiffs in this class-action litigation alleging
              Oppenheimer misled investors regarding its Champion and Core Bond Funds, which resulted in the recovery of
              $100 million for the classes.

             Tremont – The firm was co-lead counsel in a case alleging Tremont Group Holdings breached its fiduciary
             duties by turning over $3.1 billion to Bernard Maddoff. A federal judge gave final approval to a $100 million
             settlement between investors, Tremont and its affiliates.

             Enron – Hagens Berman was co-lead counsel in this ERISA litigation, which recovered more than $250 million,
             the largest ERISA settlement in history.

             Boeing – The subject of a BusinessWeek feature article, this case uncovered critical production problems with
             the 777 airliner documented internally by Boeing, but swept under the rug until a pending merger with McDon-
             nell Douglas was completed. Hagens Berman worked to uncover evidence demonstrating that the company
             knew of the concealed problems, eventually pressing Boeing into a record-breaking settlement of more than
             $92.5 million.




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     Morrison Knudsen – After the company took a significant write off, Hagens Berman filed a shareholder class
     action, alleging that MK’s senior officers had concealed hundreds-of-millions in losses. After bitterly fighting the
     suit, MK ousted the CEO and admitted the true extent of the losses. The firm recovered more than $63 million
     for investors.

     Raytheon/Washington Group – This suit charged Raytheon with deliberately misrepresenting the true
     financial condition of its Raytheon Engineers & Constructors (RE&C) division in order to sell this division to the
     Washington Group at an artificially inflated price. The case resulted in a $39 million settlement.

     U.S. West – The firm represented shareholders of U.S. West New Vector in a challenge to the proposed buyout
     of minority shareholders by U.S. West. As a result of this litigation, the proposed buyout was stayed, and a
     settlement was achieved that resulted in a $63 million increase in the price of the buyout.

 Mortgage-backed Securities
 In the wake of the “subprime” mortgage meltdown, Hagens Berman has actively prosecuted fraud in the sale of
 mortgage-related securities. Fraud cases against mortgage lenders, investment banks, and other financial institutions
 that misrepresented mortgage-related securities have proliferated. Investors now understand that portfolio losses on
 these instruments were not simply due to a “down” market, but to the defendants’ unlawful manipulations.

 Whistleblowers
 In an effort to curb Wall Street excesses, Congress recently passed the Dodd-Frank Wall Street Reform and
 Consumer Protection Act. Recognizing that corporate insiders play a critical role in rooting out securities law
 violations, the Dodd-Frank bill built vigorous whistleblower protections into the legislation known as the “Wall Street
 Tip-Off Law.”

 The law empowers the U.S. Securities and Exchange Commission to award between 10 percent and 30 percent of
 any monetary sanctions recovered in excess of $1 million to whistleblowers who provide information leading to a
 successful SEC enforcement. Hagens Berman, already a leading qui tam litigation firm, is fully equipped to handle
 any and all cases and investigations related to the Wall Street Tip-Off Law.

 The firm’s past whistleblower successes include a suit against an ambulance company that resulted in the second-
 largest settlement ever in the ambulance industry; representation of a healthcare finance consultant who blew the
 whistle on Medicare Outlier fraud and helped recover millions for the federal treasury; representation of a former
 consultant at a Big Four accounting firm whose office perpetrated a fraudulent billing scheme on the U.S. Justice
 Department; and representation of a defense industry employee whose company provided substandard gyroscopes
 for Air Force fighter jets. The synergies that result from marrying our securities talent with our qui tam successes make
 Hagens Berman an ideal choice for whistleblowers contemplating actions under the Wall Street Tip-Off Law.




HAGE NS BERM A N S OB OL S H A P I RO LLP
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HAGENS BERMAN




     PRACTICE AREAS ERISA/Retirement Plan Protection

     Tightly related to our work in protecting defrauded investors, Hagens Berman has long been a leader in protecting
     the rights of working men, women and their families through its ERISA and retirement plan protection practice and
                                                                                                                                7
     has represented them in some of the largest cases in the history of ERISA law.

     The federal Employee Retirement Income Security Act of 1974 (ERISA) spells out the duties that plan administrators,
     trustees and other fiduciaries owe to participants and beneficiaries in retirement programs including Employee Stock
     Ownership Plans (ESOPs), 401(k) plans, healthcare and pension plans.

     Our firm has substantial experience in recovering retirement funds lost by employees as the result of imprudent and
     disloyal conduct by plan fiduciaries, and in otherwise safeguarding the rights of ERISA plan participants.

     Courts have recognized our aptitude in handling large ERISA cases and appointed our firm as co-lead counsel
     in a number of such cases, including the groundbreaking Enron ERISA litigation. Enron produced $220 million in
     settlements for the benefit of former Enron employees, making it the largest ERISA settlement to date. Hagens Berman
     served as co-lead in the GM ERISA litigation, which resulted in a proposed settlement for $37.5 million and substan-
     tial injunctive relief for the benefit of a class of 401(k) plan participants. The firm was counsel to former Washington
     Mutual employees who lost hundreds of millions of dollars in retirement savings invested in company stock and the
     Washington Mutual 401(k) plan. The court granted final approval to a $49 million settlement in the case. We also
     served in ERISA cases on behalf of employees of IPALCO, the Montana Power Company and United Airlines.

     In addition to using ERISA to protect retirement plans, the firm’s ERISA practice also seeks to protect other employee
     benefit plans such as health insurance. For example, Hagens Berman pioneered the discovery of fraud in “discounts”
     provided to employee health plans, and led a case that broke new ground in the coverage of contraceptives.

     Because ERISA litigation often involves negotiations in a bankruptcy or similar financial situation, our firm often pur-
     sues alternative legal approaches to increase the chances of recovery, including filing RICO charges or naming as
     defendants key outsiders who played a role in the company’s failure.




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    HAGENS BERMAN




          PRACTICE AREAS Antitrust

          Hagens Berman works to preserve healthy competition and fair trade in the marketplace by protecting consumers
          and businesses that purchase goods and services from price-fixing, market allocation agreements, monopolistic
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          schemes, and other restraints of trade. The firm has earned an enviable reputation as experts in this often-
          confusing and combative area of commercial litigation. Our attorneys have a deep understanding of the legal and
          economic issues within the marketplace, allowing us to employ ground breaking market theories that shed light on
          monopolistic, restrictive and anti-competitive practices.

          Hagens Berman currently represents millions of consumers in several high-profile class-action lawsuits, and takes
          on major antitrust litigation that has the potential to improve market conditions for consumers, businesses and
          investors. We have represented plaintiffs in markets as diverse as debit and credit cards services, personal computer
          components, television screens, electric and gas power, airlines, personal computer software, computer games, and
          Internet services.

          We have prevailed against some of the world’s largest corporations. Representative successes on behalf of our
          clients include:

              Visa/MasterCard – Hagens Berman helped lead this record-breaking antitrust case against credit card giants
              Visa and MasterCard, which resulted in a $3.05 billion cash settlement and injunctive relief valued at more
              than $20 billion. The suit challenged charges imposed in connection with debit cards. As co-lead counsel in this
              matter, the firm assisted in setting strategy and providing oversight on all aspects of the case.

              DRAM – The firm played a key role in this class-action suit against the leading DRAM (Dynamic Random
              Access Memory) manufacturers, claiming the companies secretly agreed to reduce the supply of DRAM which
              artificially raised prices. DRAM is a necessary component in a wide variety of electronics including personal
              computers, cellular telephones, digital cameras and many other devices, and the class included equipment
              manufacturers, franchise distributors, and smaller-volume customers who purchased DRAM. The case settled for
              $345 million. The firm also represented purchasers of SRAM (Static Random Access Memory) in another class
              action that resulted in settlements totaling more than $75 million.

              Disposable Contact Lens – The firm represented hundreds of thousands of consumers against a number of
              disposable contact lens manufacturers, claiming that the manufacturers conspired with the American Optometric
              Association to keep low-priced retailers such as pharmacies and mail order companies from selling their lenses.
              The case settled in 2001 during trial.

              AC Nielson – Hagens Berman represented Information Resources, Inc. (“IRI”) in a suit claiming that AC
              Nielsen’s anti-competitive practices caused IRI to suffer significant losses. The case settled for $55 million.




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 The firm has also generated substantial recoveries on behalf of health plans and consumers in antitrust cases
 involving pharmaceutical companies abusing their patent rights to block generic drugs from coming to market.
 Certain brand name manufacturers have employed unlawful tactics such as perpetuating the brand name drug’s
 monopoly by filing “sham litigation” against generic entrants and fraudulently extending an existing patent. Hagens
 Berman has served as lead or co-lead counsel in landmark litigation challenging these anti-competitive practices,
 achieving substantial settlements for clients in, among other cases, the Paxil Direct Purchaser Litigation ($100
 million), Relafen Antitrust Litigation ($75 million), Tricor Indirect Purchaser Antitrust Litigation ($65.7
                                                                                                                            9
 million), and Augmentin Antitrust Litigation ($29 million).

 Some of the firm’s current cases include:

      Optical Disc Drives – Hagens Berman represents optical disc drive (ODD) owners in this suit alleging that
      many of the largest ODD manufacturers, including Toshiba, Sony, LG Technology and Philips fixed prices and
      conducted anticompetitive business practices.

      EA Madden – This class-action lawsuit claims that video game giant Electronic Arts used exclusive licensing
      agreements with various football organizations to nearly double the price of several of its games.

      E-books – Hagens Berman was recently named lead counsel in this class action against Apple, Inc. and several
      of the nation’s largest publishers. The firm contends that the defendants conspired to artificially raise the price
      of e-books by simultaneously transitioning to an agency sales model. The price of e-books rose as much as 50
      percent, according to the suit.




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     HAGENS BERMAN




           PRACTICE AREAS Consumer Protection
                          General Class Litigation


10         Hagens Berman is a leader in protecting consumers, representing millions in large-scale cases that challenge unfair,
           deceptive, and fraudulent practices.

           We realize that often-voiceless consumers suffer the brunt of corporate wrongdoing, and have little power to hold
           companies responsible or change those tactics. Unscrupulous companies often overcharge each customer only a small
           amount, avoiding serious complaints but adding up to tremendous amounts of undeserved money.

           In response, Hagens Berman pursues class litigation on behalf of clients to confront fraudulent practices that consumers
           alone cannot effectively dispute. We make consumers’ concerns a priority, collecting consumer complaints against
           suspected companies and exploring all avenues for prosecution. The firm has been an innovator in organizing and
           prosecuting individual class cases across many states involving the same defendants and similar factual and legal issues.

           Consumer rip-offs have many faces. As one court has said, “It is impossible to frame definitions which embrace all unfair
           practices. There is no limit to human inventiveness in this field.” Hagens Berman’s legacy of protecting consumer rights
           reflects the wide spectrum of scams that occur in the marketplace. The cases that we have led have challenged a wide
           variety of practices such as:

               – False and deceptive advertising of consumer products and services

               – False billing and over-charging by credit card companies, banks, telecommunications providers, power
                 companies, hospitals, insurance plans, shipping companies, airlines, and Internet companies

               – Deceptive practices in selling insurance and other financial products and services such as life insurance, annuities,
                 and auto insurance

               – Predatory and other unfair lending practices, and fraudulent activities related to home purchases

           A few case examples are:
               Toyota Sudden, Unintended Acceleration – Hagens Berman serves as co-lead counsel for the economic loss
               class in this class-action lawsuit filed on behalf of Toyota owners who allege a defect causes their vehicles to
               undergo sudden, unintended acceleration. Consumers allege that in addition to the safety risks associated with
               driving the vehicles, they suffered economic losses because the value of Toyota vehicles plummeted following
               media coverage of the alleged defect. A federal judge has denied Toyota’s motion to dismiss the case, which will
               proceed toward trial.




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     Expedia Hotel Taxes and Service Fees Litigation – The firm led this nationwide class-action suit arising out
     of bundled “taxes and service fees” that Expedia collects when its consumers book hotel reservations. Plaintiffs
     alleged that by collecting exorbitant fees as a flat percentage of the room rates, Expedia violated both the
     Washington Consumer Protection Act and its contractual commitment to charge as service fees only “costs
     incurred in servicing” a given reservation. After plaintiffs obtained summary judgment in the amount of $184
     million, the case settled for cash and consumer credits totaling $123.4 million.

     Blue Rhino – Hagens Berman participated in this case which alleged that Ferrellgas, wanting to avoid a price         11
     increase and a negative impact on sales, reduced the amount of propane in its tanks from 17 to 15 pounds
     without informing consumers. The firm negotiated a $25 million settlement which has been given preliminary
     approval by the court.

     Tenet Healthcare – In a pioneering suit filed by Hagens Berman, plaintiffs alleged that Tenet Healthcare
     charged excessive prices to uninsured patients at 114 hospitals owned and operated by Tenet subsidiaries in
     16 different states. Tenet settled the case and agreed to refund to class members amounts paid in excess of
     certain thresholds over a four-and-a-half year period.

     Consumer Insurance Litigation – Hagens Berman has pioneered theories to ensure that in first- and third-party
     contexts consumers and health plans always receive the treatment and benefits to which they are entitled. Many
     of our cases in this area have succeeded in expanding coverage owed and, thereby, providing more benefits;
     recovering underpayments of benefits; and returning uninsured/underinsured premiums received because of the
     misleading tactics of the insurer. In addition, on individual cases, we have taken insurers to trial and recovered
     millions of dollars for our clients by way of verdict for bad faith, punitive damages, wage losses, and medical
     and rehabilitative care.




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     HAGENS BERMAN




          PRACTICE AREAS Consumer Protection
                         Defective Product Litigation


12        When a product fails to meet accepted or advertised standards, the results can be costly, hazardous or even deadly.
          In such cases, consumers deserve relief.

          State and federal laws provide consumers with remedies for products that do not perform as warranted or adver-
          tised. Hagens Berman is nationally recognized for our successful prosecution of lawsuits involving a wide range of
          such defective products, from faulty building and home products to defective cars, computers, software, electronic
          products, medical devices, and toys.

          Indicative of the firm’s achievements for its consumer clients, the Federal court overseeing the massive multi-district
          litigation against Toyota appointed the firm to co-lead one of the largest consolidations of class-action cases in
          U.S. history. The litigation combines more than 300 state and federal suits concerning acceleration defects tainting
          Toyota vehicles. Hagens Berman and its two co-lead firms were selected from among more than 70 law firms
          applying for the role.

          Select firm successes representing consumers in defective product class litigation are profiled below:

              Louisiana-Pacific Siding Litigation – Hagens Berman attorneys served as co-lead counsel in a nationwide
              settlement class involving defective siding installed on 800,000 homes that soaked up moisture, resulting in
              swelling and cracking. More than 130,000 claims have been paid exceeding $500 million in total.

              Polybutylene Pipe Litigation – This litigation charged Shell Oil Company, E. I. du Pont de Nemours, and
              Hoescht Celanese with manufacturing and marketing defective polybutylene pipes and plumbing systems used
              in homes. Hagens Berman served as co-lead counsel for the class and secured a settlement providing a minimum
              of $950 million in relief, which, at the time, was the largest class-action settlement of its kind.

              Nissan Quest Accelerator Litigation – Hagens Berman represented Nissan Quest minivan owners who
              alleged that their vehicles developed deposits in a part of the engine called the throttle-body assembly, and that
              these deposits caused drivers to apply increased pressure to push the accelerator down. A favorable settlement
              provided the class with reimbursement for throttle-body cleanings or replacements and applicable warranty
              coverage for qualified class members.

              Hyundai Horsepower Litigation – Hagens Berman was co-lead counsel in a class-action lawsuit against
              Hyundai that claimed the company overstated the horsepower of 1.3 million vehicles and inflated the value of
              certain Hyundai models. In the resulting nationwide settlement, owners of each vehicle will receive up to $225
              in cash or up to $325 in credit with Hyundai dealers. The cost of the settlement to Hyundai ranges from $76
              million to $127 million, depending on whether owners seeking compensation take the cash or dealer credit. The
              settlement replaced a previous agreement under which Hyundai offered coupons on future purchases.




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          PRACTICE AREAS Consumer Protection
                         Drugs and Supplement Litigation


13        Hagens Berman aggressively pursues pharmaceutical industry litigation, and fights for more affordable prescription
          drugs and a more responsible pharmaceutical and medical device industry.

          For decades, brand-name prescription drug makers have been among the most profitable companies in America.
          While pharmaceutical companies become richer, consumers, health plans and insurers pay higher costs for
          prescription drugs. Representing individuals, third-party payors and the nation’s most forward-thinking public-interest
          groups, we shine the light of public scrutiny on this industry’s practices.

          Our drug litigation focuses on drug makers’ unlawful price inflation, filing of false secondary patents that block
          competitive generic drugs, and drug promotion for uses not approved by the Food and Drug Administration,
          commonly known as “off-label” uses. We also litigate cases against “dietary supplement” manufacturers for
          making false claims about their products. Examples include cases alleging that “Cellasene” did not fight cellulite as
          promised, and that “Enzyte” was marketed with false male-enhancement claims.

          We believe the firm’s pharmaceutical and dietary supplement litigation practice is second-to-none in the nation in
          terms of expertise, commitment and landmark results. The firm’s attorneys have argued suits against dozens of major
          drug companies, giving them extensive litigation and courtroom experience. In recent years, Hagens Berman’s
          aggressive prosecution of pharmaceutical industry litigation has recovered more than $500 million dollars in gross
          settlement funds for consumers and third-party payors.

          Here are some examples of our approach:

              McKesson and First DataBank Drug Litigation – Hagens Berman was lead counsel in this RICO case
              against McKesson and First DataBank alleging the companies fraudulently inflated the prices of more than 400
              prescription drugs by manipulating drug-pricing benchmarks. The class action against McKesson settled for
              $350 million on the eve of trial. The First DataBank settlement will result in a four percent rollback on the prices
              of 95 percent of the nation’s retail branded drugs, the net impact of which could be in the billions of dollars.
              Similar cases on behalf of government entities have resulted in recoveries exceeding $94 million.

              Average Wholesale Price Drug Litigation – This sprawling litigation against most of the nation’s largest
              pharmaceutical companies alleges that defendants artificially inflated the Average Wholesale Price used as
              a benchmark for almost all prescription drug sales in the United States. Hagens Berman is co-lead counsel
              to several certified classes and was lead trial counsel in a consolidated trial resulting in verdicts against
              AstraZeneca and BMS, marking one of the first trial defeats for the pharmaceutical industry on pricing issues.
              Class settlements approximating $338 million in the aggregate were approved in favor of consumers and
              health plans.




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     Vioxx Third Party Payor Marketing and Sales Practices Litigation – The firm served as lead counsel for
     third-party payors in the Vioxx MDL, alleging that Merck & Co. misled physicians, consumers and health benefit
     providers when it touted Vioxx as a superior product to other non-steroidal anti-inflammatory drugs. In reality,
     the drug had no appreciable benefits from less expensive medications, but carried increased risk of causing
     cardiovascular events. A $65 million settlement resulted.

     Serono Drug Litigation – Hagens Berman negotiated a $24 million settlement to reimburse a class
     of consumers and third-party payors, including self-insured employers, health and welfare plans, and
     insurance companies, for part or all of their purchases of the AIDS drug Serostim. The suit alleged that global
     biotechnology company Serono, Inc., schemed to substantially increase Serostim sales by duping patients
     diagnosed with HIV into believing they suffered from AIDS-wasting and needed the drug to treat that condition.

     Neurontin Third-Party Payor Litigation – Hagens Berman served as co-lead trial counsel in this case alleging
     that Pfizer fraudulently and unlawfully promoted the drug Neurontin for uses unapproved by the FDA. A jury
     returned a $47 million verdict in favor of plaintiffs.




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          PRACTICE AREAS Employment Litigation

          Hagens Berman takes a special interest in protecting workers from exploitation or abuse. We take on race and
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          gender discrimination, immigrant worker issues, hour and wage issues, on-the-job injury settlements, and other crucial
          workplace issues.

          We understand the sensitive position that many employees find themselves in. Often, employees accept labor
          abuses or a curbing of their rights because they don’t know the law, respect their superiors or fear for their jobs. We
          act on behalf of employees who may lack the individual power to bring about meaningful change in the workplace.

          Hagens Berman takes a comprehensive approach to rooting out systemic employee abuses through in-depth
          investigation, knowledgeable experts and fervent exploration of prosecution strategies. Our attorneys excel at
          seeking out and finding employees with an inside view and crucial knowledge and using that information to bring
          success in the courtroom.

          Hagens Berman is a firm well-versed in taking on complicated employee policies and bringing about significant
          results. Our representative cases include:

               CB Richard Ellis Sexual Harassment Litigation – Hagens Berman filed a class-action lawsuit against CB
               Richard Ellis, Inc. on behalf of 16,000 current and former female employees who alleged that the company
               fostered a climate of severe sexual harassment and discriminated against female employees by subjecting them
               to a hostile, intimidating and offensive work environment. Emotional distress and other physical and economic
               injuries to the class were the result. The firm negotiated an innovative and unprecedented settlement requiring
               changes to human resources policies and procedures. Class members participated in a stream-lined claims
               process providing the potential for individual awards of up to $150,000 per class member. The company
               agreed to tighten existing harassment policies and implement enhanced training for all employees. It also
               agreed to increase supervisor accountability to address sexually inappropriate conduct in the workplace,
               enhance record-keeping practices, and conduct two annual reviews of settlement compliance by a court
               appointed monitor.

               Costco Wholesale Corporation Wage & Hour Litigation – Hagens Berman filed a class-action lawsuit
               against Costco Wholesale Corporation on behalf of 2,000 current and former ancillary department employees
               (such as food court managers) who alleged that the company misclassified them as “exempt” executives.
               According to the complaint, Costco improperly denied these employees overtime compensation, meal breaks,
               and other employment benefits. After years of hard-fought litigation, the court certified eight employee groups
               for class-action treatment. Hagens Berman then negotiated a $15 million cash settlement on behalf of the class.




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     Washington State Ferry Workers Wage Litigation – The firm represented a class of “on-call” seamen who
     alleged that they were not paid for being “on call” in violation of federal and state law. The case resulted in a
     rearrangement in work assignments and of the “on-call” system, resulting in better working conditions for the
     employees.

     SunDance Rehabilitation Corporation – The firm filed a class-action lawsuit against SunDance, a
     subsidiary of Sun Healthcare Group, challenging illegal wage manipulation, inconsistent contracts, and other
     compensation tricks used to force caregivers to work unpaid overtime. The caregivers included physical, speech
     and rehabilitation therapists. The suit resulted in a $3 million settlement of stock to be distributed out of the
     company’s bankruptcy estate.




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     HAGENS BERMAN




          PRACTICE AREAS Civil and Human Rights

          Hagens Berman has represented individuals and organizations in some of the more difficult civil rights challenges
          that have arisen in the past two decades. In doing so, we have managed cases presenting very complex legal and
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          factual issues that are often related to highly charged political and historical events. Our clients have included such
          diverse communities as World War II prisoners of war, conscripted civilians, and entire villages.

          In this cutting-edge practice area, the firm vigilantly keeps abreast of new state and national legislation and case-law
          developments. We achieve positive precedents by zealously prosecuting in our clients’ interests. Some examples of
          our work in this area include:

              World Trade Organization Protests – During the 1999 World Trade Organization (WTO) protests in Seattle,
              tens of thousands of Seattle citizens became targets after Seattle officials banned all forms of peaceful protest.
              Seattle police attacked anyone found in the designated “no protest” zones with rubber bullets and tear gas. City
              residents were arrested and incarcerated for up to four days. In conjunction with Trial Lawyers for Public Justice,
              the firm won a settlement from Seattle city officials after filing a class-action alleging violations of the First and
              Fourth Amendments to the United States Constitution and after a jury returned a verdict in favor of the plaintiffs.

              Hungarian Gold Train – Following the firm’s representation of former forced and enslaved laborers for
              German companies in the Nazi Slave Labor Litigation, Hagens Berman led a team of lawyers that brought suit
              against the United States on behalf of Hungarian Holocaust survivors in the Hungarian Gold Train case. The suit
              claimed that, during the waning days of World War II, the Hungarian Nazi government loaded the plaintiffs’
              valuable personal property onto a train, and the U.S. Army later seized the train and its contents and never
              returned the property to its owners and heirs.

              Rio Tinto – In a landmark case, the firm represents victims of Rio Tinto’s mining operation on the island of Bou-
              gainville. To build the mine, Rio chemically defoliated, bulldozed and sliced off an entire mountainside of rain
              forest, and mine operations dumped billions of tons of toxic mine waste onto the land and into pristine waters,
              filling major rivers with tailings, and polluting a major bay dozens of miles away. Rio’s flagrant disregard for
              the environment dispossessed the people of Bougainville from their land, destroyed their culture, and exposed
              members of the class to numerous toxic chemicals. In certain villages, chemicals remain and have caused death
              and illness.

               Rio’s actions on Bougainville were so egregious that they sparked an uprising designed to close the mine.
               When the uprising succeeded, the Papua New Guinea government sent troops, transported by Rio, to reopen
               the mine. After initial efforts were unsuccessful, the PNG government, as the agent and co-venturer of Rio and
               with the support and encouragement of Rio, instituted a military blockade of the island that lasted for almost
               10 years. The blockade’s purpose was to coerce the Bougainville people into surrender so that the mine could
               be reopened and both Rio and PNG could continue to reap enormous profits from the mine. The blockade




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      prevented medicine, clothing and other essential items from reaching Bougainville. Hospitals were forced
      to close, women died needlessly in childbirth, and young children died from easily preventable diseases.
      According to the Red Cross, the blockade killed more than 2,000 children in just its first two years of operation.
      By the time the war ended in 1999, 10 percent of the population of Bougainville, approximately 15,000
      civilians, were killed.

      The action alleges that Rio’s conduct amounted to war crimes and violated customary international law, includ-
      ing prohibitions against destruction of the right to life and health and prohibitions against racial discrimination.
      Plaintiffs seek redress under the federal Alien Tort Claims Act (28 U.S.C. § 1350). An appeals court recently
      ruled that the case may proceed in U.S. courts and Rio has appealed to the Supreme Court.




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          PRACTICE AREAS Whistleblower Litigation

          Hagens Berman pursues whistleblower litigation under various programs, including the federal False Claims Act,
          various state laws and the more recently enacted Securities and Exchange Commission (SEC), Commodity Futures
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          Trading Commission (CFTC), and Internal Revenue Service programs.

          All of these whistleblower programs reward private citizens who blow the whistle on fraud. In many cases, the
          whistleblower reports fraud committed against the government, and may sue those individuals or companies
          responsible, thereby helping the government recover its losses. The programs under which Hagens Berman pursues
          cases include:

          False Claims Act
          Under the federal False Claims Act, and more than 30 similar state laws, the whistleblower reports fraud committed
          against the government, and under the law’s qui tam provision, may file suit on its behalf to recover lost funds.

          The whistleblower initially files the case under seal, giving it only to the government and not to the defendant, which
          permits the government to investigate. After the investigation, the government may take over the whistleblower’s suit,
          or it may decline. If the government declines, the whistleblower can proceed alone on his or her behalf. In successful
          suits, the whistleblower normally receives between 15 and 30 percent of the government’s recovery as a reward.

          False claims acts are one of the most effective tools in fighting Medicare and Medicaid fraud, defense contractor
          fraud, financial fraud, under-payment of royalties, fraud in general services contracts and other types of fraud
          perpetrated against governments. Since 1986, federal and state false claims act recoveries have totaled more than
          $22 billion. Whistleblowers themselves have now received more than $2 billion.

          In recent years, instances of fraud relating to financial services have exploded, as billions of dollars have flowed
          through federal programs such as the Troubled Asset Recovery Program (TARP), the Term-Asset-Backed Securities
          Loan Program (TALF), and the Federal Home Administration. Bid-rigging and kickback schemes in the municipal
          bond arena have flourished, as have mispricing and deception associated with securities bought by public
          pension funds.

          The government cannot keep up with the high volume of filed cases, making it important that a whistleblower
          retain the services of a firm like Hagens Berman. We have a proven track record of winning and the resources and
          knowledge to take on a powerful defendant and prosecute the case through trial. When the government is unwilling
          to act, we are.

          Our expertise in the qui tam arena includes close working relationships with attorneys at the United States
          Department of Justice and numerous state Attorney General’s Offices; specialized understanding of federal and
          state false claims statutes and other related areas of law; and extensive experience in cultivating close, productive
          attorney-client relationships with whistleblower clients.




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 Hagens Berman’s past whistleblower successes include a suit against an ambulance company that resulted in
 the second-largest settlement ever in the ambulance industry; alleged kickbacks demanded by a major hospital
 procurement agent in exchange for the award of contracts to supply products for hospitals reimbursed by
 federal health programs; a health care finance consultant who blew the whistle on Medicare “outlier” fraud and
 helped recover millions for the federal treasury; a former consultant at a “Big Four” accounting firm whose office
 perpetrated a fraudulent billing scheme on the U.S. Justice Department; and a defense industry employee whose
 company provided substandard gyroscopes for Air Force fighter jets.

 Securities and Exchange Commission / Commodity Futures Trading Commission
 Hagens Berman also provides counsel for whistleblowers under the new Securities and Exchange Commission
 (SEC) and Commodity Futures Trading Commission (CFTC) whistleblower programs.

 Unlike the False Claims Act, whistleblowers under these new programs do not initially file a sealed lawsuit. Instead,
 they provide information directly to the SEC or the CFTC regarding violations of the federal securities or commodities
 laws. If the whistleblower’s information leads to an enforcement action, they may be entitled to between 10 and 30
 percent of the recovery.

 Many traditional False Claim Act firms are beginning to take on these cases, but those firms lack real experience in
 prosecuting financial fraud and securities violations. Hagens Berman has extensive experience in these areas and
 has represented large institutions as well as led class-action litigation against some of the largest financial institutions
 in the world.

 Hagens Berman has also worked alongside government officials and regulators, establishing the credibility
 necessary to bring a case to the SEC. When Hagens Berman brings a claim, regulators pay attention.

 Internal Revenue Service
 Hagens Berman also represents whistleblowers under the IRS whistleblower program enacted with the Tax Relief
 and Health Care Act of 2006.

 The IRS program offers rewards to those who come forward with information about persons, corporations, or any
 other entity that cheats on its taxes. In the event of a successful recovery of government funds, a whistleblower can be
 rewarded with up to 30 percent of the overall amount collected in taxes, penalties and legal fees.

 Hagens Berman helps IRS whistleblowers to present specific and credible information to the IRS regarding tax fraud.
 Unlike some traditional False Claims Act firms, Hagens Berman has experience representing governments who have
 lost tax revenue due to fraud.




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     HAGENS BERMAN




          PRACTICE AREAS Governmental Representation

          Hagens Berman represents government agencies and public officials in civil law enforcement and damage
          recoupment actions designed to protect citizens and the treasury. We understand the needs of elected officials and
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          the obligation to impartially and zealously represent the interests of the public, are often chosen after competitive
          bidding, and have been hired by officials from across the political spectrum.

          Hagens Berman has assisted governments in recovering billions of dollars in damages from corporate wrongdoers
          and, in the process, helped alter the manner in which some industries do business. In serving government, we are
          often able to leverage the firm’s expertise and success in related private class litigation.

          Successes on behalf of government clients include:

              Big Tobacco – Hagens Berman represented 13 states in their landmark Medicaid-recoupment litigations
              against the country’s major tobacco companies. Only two states actually took their cases to trial – Washington
              and Minnesota. The firm served as trial counsel for the State of Washington, becoming only one of two private
              firms in the entire country to take a state case to trial.

               Hagens Berman was instrumental in developing what came to be accepted as the predominant legal tactic
               to use against the tobacco industry: emphasizing traditional law enforcement claims such as state consumer
               protection, antitrust and racketeering laws. Before the firm’s involvement in the state cases, the predominant
               claims being pursued by most of the states were traditional tort theories, which were sometimes unsuccessful.
               In contrast, the law enforcement approach proved to be nearly universally successful at the pleading stage,
               leaving the industry vulnerable to a profits disgorgement remedy, penalties and double damages. The firm also
               focused state legal claims on the industry’s deplorable practice of luring children to tobacco use.

               A national settlement of the state tobacco litigation resulted in recouping $206 billion for state programs, the
               largest settlement in the history of civil litigation in the United States. The firm played a key role in the national
               settlement negotiations.

               Hagens Berman is particularly proud of the important role that the firm’s lawyers played in these pioneering
               actions against an industry that has caused so much illness and financial harm.

              Average Wholesale Price Drug Litigation – The drug manufacturers’ artificial inflation of the Average
              Wholesale Price that is used as a benchmark for almost all prescription drug sales in the United States hurt
              consumers and private third-party payors whose interests the firm represents in class litigation, and it also caused
              damage to state Medicaid and other public health programs. Hagens Berman is special counsel to the states of
              Arizona, Montana and Nevada in their AWP suits, which have settled on terms favorable to the states.




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     McKesson Drug Price Inflation Litigation – This litigation is yet another example of fraudulent drug price
     inflation impacting not just consumers and private health plans, but public health programs such as Medicaid
     and local government-sponsored plans as well. Hagens Berman, building on the firm’s experience in leading the
     $350 class-action recovery against McKesson, represents six states, including Oregon, Virginia, Utah, Montana,
     Mississippi, and Connecticut, the City and County of San Francisco, and other local government agencies in their
     efforts to recover the damages caused to their health plans by McKesson’s scheme. The County public payor case
     settled for $82 million, and the City and County of San Francisco settled its claims for $12.5 million.

     Zyprexa Marketing and Sales Practices Litigation - Connecticut – Hagens Berman served as outside
     counsel to Attorney General Richard Blumenthal in litigation alleging that Lilly engaged in unlawful off-
     label promotion of the atypical antipsychotic Zyprexa. The litigation also alleged that Lilly made significant
     misrepresentations about Zyprexa’s safety and efficacy, resulting in millions of dollars in excess pharmaceutical
     costs borne by the State and its taxpayers. The State’s Zyprexa litigation concluded with a $25 million settlement
     that Hagens Berman negotiated.




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     HAGENS BERMAN




         PRACTICE AREAS Personal Injury and Abuse

         Hagens Berman’s blend of professional expertise, education and commitment to our clients has made us some of the
23
         most well-respected and successful mass tort and personal injury lawyers.

         Not all personal injury cases are the same. To successfully litigate personal injury cases, attorneys must have a
         deep understanding of the medical and legal issues of that particular case and the practice area it falls within.
         The attorneys at Hagens Berman have extensive knowledge and experience across the spectrum of personal
         injury practice areas, assuring that our clients will receive the highest level of legal counsel. We have delivered in
         catastrophic injury cases involving wrongful death, brain injury, auto accidents, defective products, construction
         accidents, and police and emergency vehicle collisions.

         Hagens Berman has a long record of accomplishment in personal injury litigation. Experience is the number one
         factor in reaching successful outcomes.

         We also have unparalleled experience in very specific areas of abuse law, recovering damages on behalf of some
         of the most vulnerable people in our society, as profiled below.

         Sexual Abuse Litigation – Hagens Berman has represented a wide spectrum of individuals who have been the
         victims of sexual abuse, including children and developmentally disabled adults. We treat each case individually,
         with compassion and attention to detail and have the expertise, resources and track record to stand up to the
         toughest opponents. In the area of sexual abuse, our attorneys have obtained record-breaking verdicts, including the
         largest personal injury verdict ever upheld by an appellate court in the State of Washington.

         Nursing Home Negligence – Nursing home negligence is a growing problem throughout the nation. As our
         population ages, reports of elder abuse and nursing home negligence continue to rise. Today, elder abuse is one
         of the most rapidly escalating social problems in our society. Hagens Berman is uniquely qualified to represent the
         victims of elder abuse and nursing home negligence. Our attorneys have secured record-breaking settlements in this
         area of the law and have committed to holding nursing homes accountable.

         Social Work Negligence – Social workers play a critical role in the daily lives of our nation’s most vulnerable
         citizens. Social workers, assigned to protect children, developmentally disabled and elderly adults, are responsible
         for critical aspects in the lives of tens of thousands of citizens who are unable to protect themselves. Many social
         workers do a fine job. Tragically, many do not. The results are often catastrophic when a social worker fails to
         monitor and protect his or her vulnerable client. All too often, the failure to protect a child or disabled citizen leads to
         injury or sexual victimization by predators. With over $40 million in recoveries on behalf of vulnerable citizens who
         were neglected by social workers, Hagens Berman is the most experienced, successful and knowledgeable group of
         attorneys in this dynamic area of the law.




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     HAGENS BERMAN




          PRACTICE AREAS Intellectual Property

          Hagens Berman launched a new intellectual property practice in early 2011. Managing Partner Steve Berman
          leads the effort and the firm has hired top-notch attorneys to pursue cases.
24
          Unlike other intellectual property firms, Hagens Berman only represents plaintiffs. This reduces the risk of potential
          conflicts of interest which at larger firms often create delays in deciding whether or not to take a case. With no
          conflicts, we are able to act quickly in deciding to take a case and move the process forward.

          The firm is primarily interested in patent law, and seeks to represent patent holders including inventors, non-practicing
          entities and other groups whose patent portfolio represents a significant capital investment.

          A number of patent cases are currently in various phases of litigation. Some examples include:

              Nintendo Wii – Hagens Berman represents Shinsedai Company, Limited, a small video game company which
              alleges that Nintendo’s Wii Sports games infringe on several of Shinsedai’s patents.

              Mission Abstract Data – The firm has filed a lawsuit against more than 900 radio stations across the United
              States alleging that they have infringed on patents covering the use of hard disk drive systems to store and
              retrieve music.

              Green Dot and NetSpend – Hagens Berman filed this patent infringement suit on behalf of Nevada-based
              Integrated Technological Systems, Inc. (ITS) which claims that two prepaid debit card providers infringe on an
              ITS patent covering a method for transfers between prepaid debit cards.

              Apple – Hagens Berman is currently preparing new patent cases involving infringement by Apple’s iPad, Mac
              and iPhone devices and infringement of patents formerly belonging to Polaroid.

          Hagens Berman also specializes in other aspects of intellectual property law, including trade secret, copyright and
          trademark litigation.




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HAGENS BERMAN




     PRACTICE AREAS Lending and Mortgage Fraud

     The financial crisis of 2008, triggered by the burst of a massive bubble in housing, led to waves of foreclosures that
     are still ongoing. The crisis has revealed a number of fraudulent tactics used by lenders, appraisers and others.
                                                                                                                              25
     Hagens Berman has responded to these tactics by prosecuting financial institutions and real estate companies who
     break the law.

     The firm has filed several lawsuits against some of the largest banks and mortgage owners, including Bank of
     America, Aurora Loan Services and Wells Fargo.

     Some of the areas the firm focuses on include:

     Appraisals – Hagens Berman has investigated appraisers and financial institutions that inflated fees or coordinated
     to produce false appraisals.

     Bait and Switch Charges – The firm has prosecuted large mortgage holders that unfairly charged excessive and
     illegal fees.

     False Modification Schemes – Some banks, the firm believes, have offered a false promise of a mortgage modifi-
     cation to homeowners, only to foreclose after the homeowner follows a prescribed payment plan.

     One of the firm’s cases has already led to a settlement that returned money to homeowners. In early 2011, a $7.1
     million settlement was reached between homeowners and home building giant KB Homes. The case alleged that KB
     Homes improperly required customers to use its escrow subsidiary and extracted $275 for a “contract coordination”
     fee. The settlement will allow homeowners to recover at least $225 and perhaps more than $275.




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Steve W. Berman                  Managing Partner

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Steve W. Berman founded Hagens Berman in 1993 after his prior firm refused to represent several young
children who consumed fast food contaminated with E. coli. Steve went on to prove that the poisoning
was the result of Jack in the Box’s cost cutting and gross negligence. He is the managing partner of
Hagens Berman and is considered one of the most successful class-action attorneys in the nation.

Mr. Berman played a key role in winning record settlements in consolidated cases against Wall Street,
Big Oil, Big Pharma and Big Tobacco. He has served as lead counsel for the largest settlement in world
history, largest U.S. antitrust settlement, largest U.S. ERISA settlement, and largest U.S. securities
settlement at the time of settlement. His trial experience has earned him significant recognition, and led
The National Law Journal to name him one of the 100 most powerful lawyers and rate Hagens Berman
one of the top ten plaintiffs’ firms in the country.
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Elizabeth A. Fegan is a partner in Hagens Berman’s Chicago office, where she has worked since 2004.
Her practice includes a variety of complex commercial class-action cases in the areas of antitrust,
consumer protection and product liability.

Her recent successes include a $35 million settlement in a nationwide antitrust class action on behalf
of consumers against Babies ‘R Us and manufacturers of high-end strollers, high chairs, carriers and
car seats, as well as a settlement that provides up to $25 million in refunds to purchasers of Blue Rhino
propane tanks in a nationwide antitrust class action.

Ms. Fegan has successfully tailored creative results for the benefit of nationwide classes. For example,
Ms. Fegan settled a nationwide class action alleging sexual harassment on behalf of 16,000 current
and former female employees of a commercial property brokerage firm. In addition to requiring changes
to human resources policies and procedures, the innovative settlement afforded class members the
opportunity to participate in a stream-lined claims process that provides the potential for individual awards
up to $150,000 per class member.
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Thomas Ahlering joined Hagens Berman’s Chicago office as an associate in 2012. Prior to joining Hagens
Berman, Thomas was an associate at a Chicago law firm where he was a member of the firm’s White-
Collar Crime and Internal Investigations and Litigation practice groups. While there, Thomas gained a
broad and eclectic mix of litigation experience in both state and federal court in actions ranging from
fraud, breach of contract, theft, RICO, ERISA, civil rights violations and criminal conspiracy.
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Daniel J. Kurowski is an associate at Hagens Berman’s Chicago office, where he has worked since 2006.
His current work with the firm includes a number of large class actions, including: (1) litigating against
the National Collegiate Athletic Association to improve its concussion policies for student-athletes; (2)
contesting North American Company for Life and Health Insurance Company’s deferred annuity sales
practices, particularly as those practices impact senior citizens; (3) suing on behalf of a putative class of
third-party payors of the prescription cancer pain drug Actiq, allegedly marketed and sold by Cephalon,
Inc. for non-cancer uses; and (4) challenging Family Video Movie Club, Inc.’s alleged violations of the Fair
Labor Standards Act and similar state laws for failing to pay hourly employees for “off-the-clock” work and
miscalculating overtime pay.

While in law school, Mr. Kurowski received various academic scholarships, served as a staff member
and Lead Articles Editor for The John Marshall Law Review, and received an award for an appellate brief
he submitted in connection with a national moot court competition. Along with his studies, Mr. Kurowski
worked in the private and governmental legal sectors, including interning with the U.S. Department of
Housing and Urban Development’s Office of Fair Housing and Equal Opportunity, the U.S. Attorney’s
Office for the Northern District of Illinois, and working with Hon. Ronald A. Guzman and his staff, a judge
sitting with the U.S. District Court for the Northern District of Illinois.
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 1
 2
 3
 4
 5
 6
 7
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 8
 9
10    In Re: Toyota Motor Corp. Unintended          CASE NO: 8:10ML02151 JVS(FMOx)
      Acceleration Marketing, Sales
11    Practices, and Products Liability
      Litigation
12                                                  ORDER NO. 2: ADOPTION OF
      This document relates to:                     ORGANIZATION PLAN AND
13                                                  APPOINTMENT OF COUNSEL
      ALL CASES
14
15
16
17
18          At the outset, the Court thanks the authors of the Joint Preliminary Report
19   (Docket No. 8) and all counsel for their thoughtful and extensive submissions on
20   the structure of this litigation. The filings represent a thorough consideration of the
21   complexity which these pretrial proceedings face.
22
23   I.     Adoption of Structure.
24
25                The Court finds that plaintiffs’ counsel should be structured as
26   follows:
27
28                                              1
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 1               • A liaison committee for personal injury/wrongful death cases,
 2               consisting of two co-lead counsel and a total of nine members,
 3               including the co-leads. The committee will have the duties outlined in
 4               the Manual for Complex Litigation (Fourth) § 22.62, but tailored to
 5               reflect retention by individual counsel of the unique aspects of each
 6               personal injury/wrongful death case.

 7
                 • A lead counsel committee for the economic loss cases, consisting of
 8
                 two co-leads who represent consumer plaintiffs and one co-lead who
 9
                 represents non-consumer plaintiffs, and six additional members
10
                 consisting of five counsel who represent consumer plaintiffs and one
11
                 counsel who represents non-consumer plaintiffs. The committee will
12
                 have the duties outlined in the Manual for Complex Litigation
13
                 (Fourth) § 22.62.
14
15
                 • A core discovery committee consisting of the co-lead liaison counsel
16
                 for the personal injury/wrongful death cases and the co-lead counsel
17
                 for the economic loss plaintiffs. There shall be two co-leads of the
18               core discovery committee, one designated by the liaison committee
19               and one designated by the lead counsel committee. The co-leads may
20               add by agreement a total of four additional members from the liaison
21               committee and/or the lead committee. Thus, the core discovery
22               committee shall be no larger than nine.
23
24               • Three liaison counsel to the state cases and other types of federal
25               cases to coordinate between the core discovery committee and the
26               state and federal litigation. The duties of plaintiffs’ state and federal
27               liaison counsel shall be limited to liaison.
28                                             2
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 1                 • One or more counsel who shall have specific duties limited to a
 2                 particular factual or legal area.
 3
 4   This structure is somewhat larger than the Court initially envisioned. However, the
 5   Court became convinced at the initial hearing that a larger group of counsel is
 6   needed to meet the needs of this case.

 7
                   The Court declines to appoint a series of specialized committees. (See
 8
     Joint Preliminary Report, pp. 3-4.) The Court believes these tasks can best be
 9
     addressed by the committees which the Court has appointed in a centralized
10
     framework. In this regard, the Court notes the depth of the firms of many of the
11
     appointees.
12
13
     II.      Core Discovery.
14
15
                   In its April 13, 2010 Order, the Court suggested a definition of core
16
     discovery: “By core discovery, the Court means discovery of the development,
17
     marketing, sales, manufacture, and administration of the Toyota products and
18   product programs at issue in this case.” (Docket No. 3, p. 2.) The scope likely
19   includes all the issues outlined in the Joint Preliminary Report (pp. 9-20), but the
20   Court agrees with the Toyota parties that it would be more productive to allow the
21   parties to negotiate a joint definition, which the Court believes should occur as part
22   of adopting a discovery program. (See Section IV.B, infra.) It is premature for the
23   Court to attempt to define the scope of discovery at this time.
24
25   III.     Appointments.
26
27                 The Court makes the appointments listed below, but first deals with
28                                               3
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 1   the issue of conflicts of interests.
 2
 3                    A. Conflicts of Interest.
 4
 5                    On May 3, 2010, the Court invited comments on whether a conflict
 6   exists if counsel represent both personal injury/wrongful death plaintiffs and

 7
     economic loss plaintiffs and whether a conflict exists if counsel represent both
     consumer economic loss plaintiffs and non-consumer economic loss plaintiffs.
 8
     (Docket No. 92.) The Court has concluded that neither combination of
 9
     representations constitutes a disqualifying conflict which bars the appointment of
10
     counsel to a leadership position.
11
12
                      First, the supposed conflict between personal injury/wrongful death
13
     plaintiffs and economic loss plaintiffs is premised on the theory that these
14
     categories of plaintiffs are competing for a limited pool of resources to fund any
15
     judgment.1 (E.g., Docket No. 53, pp. 5-6; Docket No. 149, p. 1.) However, such
16
     concerns appear speculative at this time in view of the representations that Toyota
17
     had revenues of more than $200 billion in 2009. See Blackie v. Barrack, 524 F.2d
18   891, 909 (9th Cir. 1975); In re First American Corp. Erisa Litigation, 258 F.R.D.
19   610, 619 (C.D. Cal. 2009). Moreover, the Court notes that Toyota announced on
20   May 11, 2010 an annual profit of approximately $2.2 billion for the fiscal year
21   ending March 31, 2010.2
22
23
            1
24              Arguably, the same contention could be made with respect to representation of consumer
25   and non-consumer economic loss plaintiffs, but it would suffer from the same flaw.
26          2
                See, e.g., Hiroko Tabuchi, Toyota Posts $2.2 Billion Annual Profit, N.Y. Times, May
27   11, 2010, http://www.nytimes.com/2010/05/12/business/global/12toyota.html.
28                                                    4
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 1                Second, the differences between consumer and non-consumer
 2   economic loss plaintiffs may require representation of both types of plaintiffs in
 3   the leadership, but dual representation does not create a conflict. Courts have
 4   regularly permitted counsel to represent different types of claimants within a class
 5   or subclasses. See, e.g., In re Medtronic, Inc., 2008 WL 3895933 at *3 (D. Minn.
 6   Aug. 15, 2008) (MDL 1726); Moreno v. Autozone, Inc., 251 F.R.D. 417, 425

 7
     (N.D. Cal. 2008); In re Serzone Products Liability Litigation, 231 F.R.D. 221, 238
     (S.D. W.Va. 2005) (MDL 1477). There is no basis for reaching a different
 8
     conclusion here.
 9
10
                  Part of the concern regarding potential conflicts is addressed by the
11
     Court’s determination not to appoint the same counsel to a leadership position
12
     involving more than one type of claimant. Each group of claimants will have
13
     adequate representation in the leadership.
14
15
                  At best, the issue of whether such dual representations require
16
     disqualification is premature. There will be other, more appropriate opportunities
17
     to revisit the issue, such as the Court’s consideration of the adequacy of counsel on
18   motions for class certification. Fed. R. Civ. P. 23(a)(4).
19
20                B. Appointments.
21
22                The Court makes the appointments listed below. The appointments
23   are personal in nature, and although the Court anticipates that appointees will draw
24   on the resources of their firms or their existing co-counsel, the appointee is the
25   member of the committee and responsible for the duties which he or she assumes.
26   At a coming hearing, the Court will discuss a process for evaluating appointees’
27   performance and commitment to the tasks assigned.
28                                              5
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 1
 2              Plaintiffs’ Liaison Committee for Personal Injury/Wrongful Death
 3              Cases:
 4
 5                    Co-Lead Counsel: Elizabeth J. Cabraser, Mark P. Robinson, Jr.
 6
 7
                      Members: Lewis S. Eidson, W. Mark Lanier, Richard D.
                      McCune, W. Daniel “Dee” Miles, Brian Panish, Hunter J.
 8
                      Shkolnik, Donald H. Slavik
 9
10
                Plaintiffs’ Lead Counsel Committee for Economic Loss Class
11
                Actions:
12
13
                      Co-Lead Counsel: Steven W. Berman (consumer), Frank M.
14
                      Pitre (non-consumer), Marc M. Seltzer (consumer)
15
16
                      Members: Richard J. Arsenault (non-consumer), Benjamin L.
17
                      Bailey (consumer), Stanley M. Chesley (consumer), Jayne
18                    Conroy (consumer), Michael Louis Kelly (consumer), Jerome
19                    L. Ringler (non-consumer)
20
21              Core Discovery Committee: To be staffed as discussed in Section I.
22
23              Plaintiffs’ Liaison Counsel to State and Other Types of Federal Cases:
24              Wylie A. Aitken, Dawn M. Barrios, Gretchen M. Nelson
25
26              Specialized Appointment: Monica R. Kelly, consultant to the Liaison
27              Committee for Personal Injury/Wrongful Death Cases and the Lead
28                                          6
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 1                 Counsel Committee for Economic Loss Class Actions on foreign law
 2                 issues, including motions practice involving foreign law issues.
 3
 4                 The Court defers to the Toyota parties’ suggestion for organizing their
 5   defense, and adopts their proposal below. (See Joint Preliminary Report, pp. 8-9.)
 6   Accordingly, the Court appoints:

 7
                   Lead Defense Counsel for Personal Injury/Wrongful Death Cases:
 8
                   Vince Galvin, Joel Smith. Counsel will have the duties outlined in the
 9
                   Manual for Complex Litigation (Fourth) § 22.62. They shall also
10
                   serve as liaison counsel for technical issues.
11
12
                   Lead Defense Counsel for Economic Loss Cases: Cari K. Dawson,
13
                   Lisa Gilford. Counsel will have the duties outlined in the Manual for
14
                   Complex Litigation (Fourth) § 22.62.
15
16
                   Defendants’ Liaison Counsel to State Cases and Other Types of
17
                   Federal Cases: Vince Galvin, Lisa Gilford
18
19   IV.     Further Hearings.
20
21                 A. May 28, 2010, 9:00 a.m.
22
23                 This hearing will address the following issues:
24
25                 • Entry of a scheduling order for pleadings, including:
26
27                       • Date for filing a consolidated class action complaint(s) for
28                                              7
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 1                    economic loss.
 2
 3                    • A briefing schedule for Rule 12 or other pleadings motions
 4                    directed to the consolidated complaint(s) for economic loss.
 5
 6                    • A briefing schedule for Rule 12 or other pleadings motions

 7
                      directed to the personal injury/complaints. The number of such
                      motions shall be limited to two motions raising any common
 8
                      issues affecting all or a substantial number of personal
 9
                      injury/wrongful death complaints. The Court intends for such
10
                      motions to serve as bellwethers which will provide the parties
11
                      guidance with respect to the same issues in other cases before
12
                      further motions practice proceeds. Pleadings motions raising
13
                      issues unique to a particular plaintiff may be tendered without
14
                      limitation.
15
16
                The parties shall submit a proposed order no later than May 26, 2010.
17
                The proposed order shall reflect alternative provisions where there is a
18              dispute. The Liaison and Lead Counsel Committees may each
19              supplement the proposed order with a brief of no more than ten pages.
20              The Toyota parties may supplement the proposed order with a brief of
21              no more than fifteen pages.
22
23              • Entry of an evidence preservation order. The parties shall submit a
24              proposed order no later than May 26, 2010. The proposed order shall
25              reflect alternative provisions where there is a dispute. The Liaison
26              and Lead Counsel Committees may each supplement the proposed
27              order with a brief of no more than ten pages. The Toyota parties may
28                                            8
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 1               supplement the proposed order with a brief of no more than fifteen
 2               pages.
 3
 4               • The timing and scope of Rule 26 initial disclosures.
 5
 6               • Such other matters as the parties jointly request the Court to take up

 7
                 by filing a joint request no later than May 24, 2010.

 8
                 B. June 25, 2010, 9:00 a.m.
 9
10
                 The hearing will address the following issues:
11
12
                 • Entry of an order establishing a comprehensive plan for all forms of
13
                 discovery and the entry of a protective order. The parties shall submit
14
                 proposed orders no later than June 21, 2010. The proposed orders
15
                 shall reflect alternative provisions where there is a dispute. The
16
                 Liaison and Lead Counsel Committees may each supplement the
17
                 proposed orders with one brief of no more than ten pages. The
18               Toyota parties may supplement the proposed orders with one brief of
19               no more than fifteen pages.
20
21               • To the extent not covered in the comprehensive plan, discussion of
22               the establishment of an electronic document depository and the
23               establishment of databases.
24
25               • Appointment of one or more discovery masters, including special
26               masters for attendance at foreign depositions. No later than June 23,
27               2010, the parties shall submit a proposed joint list of discovery
28                                             9
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 1                 masters, which at a minimum shall include a resume and indication
 2                 that the candidate will accept appointment. Where there is no
 3                 agreement, plaintiffs collectively may propose up to five candidates,
 4                 and the Toyota parties may propose up to five candidates.
 5
 6                 • Coordination with state cases and other types of federal cases. No

 7
                   later than June 23, 2010, Plaintiffs’ Liaison Counsel for State and
                   other Types of Federal Cases and Defendants’ Liaison Counsel for
 8
                   State and other Types of Federal Cases shall submit a joint report
 9
                   with suggested procedures for coordination. The report shall also
10
                   address the status of the state cases, similar to Exhibit B to the Joint
11
                   Preliminary Report, and shall also address the status of any state
12
                   coordination proceedings.
13
14
                   • Discussion of the timing, content and format of a technical tutorial
15
                   for the Court.
16
17
                   • Such other matters as the parties jointly request the Court to take up
18                 by filing a joint request no later than June 18, 2010.
19
20                 C. Regular Hearings.
21
22                 The Court believes that it would helpful to set aside one day each
23   month for a status conference, with the possible exception for the summer vacation
24   period and year-end holidays. The Court would invite a joint status report a week
25   in advance.
26
27
28                                              10
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 1   V.     Attorney’s Fees and Time Records.
 2
 3                There appears to be a consensus that plaintiffs’ counsel should
 4   maintain time records. (E.g., Joint Preliminary Report, pp. 6-7; Docket No. 42, p.
 5   11.) Accordingly, the Court orders any counsel who intend to apply for fees in a
 6   class action to maintain records sufficient to make and support a lodestar showing.

 7
     Perdue v. Kenny A., __ U.S. __, Slip Op. at pp. 7-8 (Apr. 21, 2010); Hanlon v.
     Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998). Similarly, the Court orders
 8
     all counsel in the personal injury/wrongful death cases whose fees are subject to
 9
     Court approval for any reason to maintain records sufficient to make and support a
10
     lodestar showing.
11
12
                  IT IS SO ORDERED.
13
14
     Dated: May 14, 2010
15
                                                         ____________________
16                                                       James V. Selna
17
                                                         United States District Judge

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                                          Case: 1:13-cv-09116 Document #: 49-1 Filed: 05/09/14 Page 52 of 94 PageID #:503

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                                                                   IN THE UNITED STATES DISTRICT COURT
                                             9
                                            10                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
For the Northern District of California




                                            11
    United States District Court




                                            12   IN RE: OPTICAL DISK DRIVE                   MDL DOCKET NO M:10-2143 VRW
                                                 PRODUCTS ANTITRUST LITIGATION
                                            13
                                                                                             ALL CASES
                                            14                                       /
                                            15
                                            16               Three sets of attorneys have applied for appointment as
                                            17   interim class counsel to represent a class of indirect purchaser
                                            18   plaintiffs in the above litigation in accordance with FRCP
                                            19   23(g)(3):    the Larson and Zelle groups and the Hagens Berman firm.
                                            20   Because their applications contain attorney work product, all three
                                            21   groups requested that the precise terms of their applications
                                            22   remain confidential during the pendency of this litigation, a
                                            23   request the court honors by GRANTING counsel’s administrative
                                            24   motions to seal these proposals.        Docs #47, 51 & 54.
                                            25
                                                 //
                                            26
                                                 //
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                                            28   //




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                                             1                                       I
                                             2              Pursuant to FRCP 23(g)(3), a “court may designate interim
                                             3   counsel to act on behalf of a putative class before determining
                                             4   whether to certify the action as a class action.”        When making such
                                             5   an appointment, a court must find that the applicant is adequate
                                             6   under FRCP 23(g)(1), which requires that the court consider:          (i)
                                             7   the work counsel has done in identifying or investigating potential
                                             8   claims in the action; (ii) counsel’s experience in handling class
                                             9
                                                 actions, other complex litigation and the types of claims asserted
                                            10
                                                 in the action; (iii) counsel’s knowledge of the applicable law; and
For the Northern District of California




                                            11
                                                 (iv) the resources that counsel will commit to representing the
    United States District Court




                                            12
                                                 class.   Additionally, the court may consider any other matter
                                            13
                                                 pertinent to counsel’s ability fairly and adequately to represent
                                            14
                                                 the interests of the class and, as the court has done here, may
                                            15
                                                 direct potential class counsel to provide information on any
                                            16
                                                 subject pertinent to the appointment and to propose terms for
                                            17
                                                 attorney fees and costs in representing a prospective class.          FRCP
                                            18
                                                 23(g)(1)(B) & (C).
                                            19
                                                           With respect to attorney fees and costs, it appears that
                                            20
                                                 some of the statutes pursuant to which indirect purchasers seek
                                            21
                                                 recovery provide for shifting fees and costs in favor of a
                                            22
                                                 prevailing plaintiff.    To the extent that a class of indirect
                                            23
                                                 purchaser plaintiffs obtains a recovery pursuant to a statute
                                            24
                                                 entitling them to fee shifting, the court will award fees and costs
                                            25
                                                 pursuant to that statute using the now almost universally accepted
                                            26
                                                 lodestar methodology.    This approach makes sense in a fee shifting
                                            27
                                                 regime because the party against whom the award is made has an
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                                             1   incentive to challenge any unreasonable fee or cost award,
                                             2   affording the court the benefit of adversary presentations.
                                             3             Not every recovery on behalf of a class of indirect
                                             4   purchasers may be subject to a fee shifting regime for at least two
                                             5   possible reasons:    either the statute in question does not provide
                                             6   for fee shifting or the recovery is obtained in a settlement that
                                             7   creates a common fund.    There is, of course, a third possibility:
                                             8   the recovery may be obtained pursuant to two or more claims, one or
                                             9
                                                 more of which provides for fee shifting while others do not.          Where
                                            10
                                                 possible, the court will attempt to determine fees based on truly
For the Northern District of California




                                            11
                                                 adversarial presentations.     Because that is not always possible, it
    United States District Court




                                            12
                                                 is appropriate to consider the matter of fees and costs at the
                                            13
                                                 outset.   This is particularly appropriate here in which competing
                                            14
                                                 applications have been presented by able counsel to assist the
                                            15
                                                 court in discharging its responsibility to protect the interests of
                                            16
                                                 the putative class.    See, e g, Gulf Oil Co v Bernard, 452 US 89,
                                            17
                                                 100 (1981) (“Because of the potential for abuse, a district court
                                            18
                                                 has both the duty and the broad authority to exercise control over
                                            19
                                                 a class action and to enter appropriate orders governing the
                                            20
                                                 conduct of counsel and parties.”).
                                            21
                                            22
                                            23                                        A

                                            24              Having reviewed the parties’ submissions, the court finds

                                            25   that all applicants meet the baseline requirements set forth in

                                            26   FRCP 23(g)(1)(A)(ii) and (iii).      All three parties appear to have
                                            27   prepared their proposals independently and are experienced in
                                            28   prosecuting complex litigation in antitrust and other areas of law;

                                                                                      3
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                                             1   some of the lawyers in each group have appeared before the
                                             2   undersigned in other litigation and have consistently displayed
                                             3   high levels of skill and professionalism.       The law firms
                                             4   represented in each of the three applications, by virtue of their
                                             5   collective experience and resources, easily satisfy the remaining
                                             6   requirements of FRCP 23(g)(1)(A).        The undersigned has previously
                                             7   noted a number of qualitative criteria by which to evaluate the
                                             8   quality of bids by counsel seeking to represent a class.         See, e g,
                                             9   In re Oracle Sec Litig, 136 FRD 639 (N D Cal 1991) (“Oracle III”).
                                            10   The Zelle application claims one other such criterion when it
For the Northern District of California




                                            11   proposes to keep any settlement obtained in an escrow account
    United States District Court




                                            12   “until the end of the case.”     While this would presumably serve as
                                            13   an incentive to conclude the entire litigation, escrowing any
                                            14   interim settlement might discourage counsel from activities to
                                            15   maximize recovery from other defendants.       The benefit to the class
                                            16   of escrowing interim settlements is thus difficult to predict and
                                            17   the court gives this little weight in a qualitative evaluation of
                                            18   the competing applications.
                                            19
                                                           Before assessing the three applications, the court
                                            20
                                                 briefly summarizes each proposal in general terms.        All three
                                            21
                                                 proposals describe the background of each of the firms seeking
                                            22
                                                 designation as interim counsel.      As noted, each brings impressive
                                            23
                                                 skills and experience to the proposed task.       It is difficult to
                                            24
                                                 distinguish among the three applications on this basis.         No doubt
                                            25
                                                 realizing that their backgrounds would not point to a clear choice,
                                            26
                                                 the three applicants devote most of their attention to their
                                            27
                                                 respective fee and cost proposals and an analysis of the prospects
                                            28
                                                 for a recovery.   From these criteria, particularly the latter, a

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                                             1   clear choice emerges.    That choice is the Hagens Berman firm.
                                             2
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                                                                                      B
                                             4
                                                              The Larson Group proposes a fee structure at the lessor
                                             5
                                                 of a multiplier of its lodestar or a percentage fee keyed to two
                                             6
                                                 factors:    (i) the stage of the litigation at which recovery is
                                             7
                                                 obtained, with increases in the percentage fee with each succeeding
                                             8
                                                 stage of the litigation; and (ii) the amount of the recovery, with
                                             9
                                                 decreases in the percentage fee as the amount of the recovery
                                            10
For the Northern District of California




                                                 increases.    In addition, the Larson Group proposes a cap on
                                            11
    United States District Court




                                                 expenses at each of the stages of the litigation set forth in its
                                            12
                                                 proposal.    The Larson Group also requests that all parties be
                                            13
                                                 required to sign a single protective order and electronic discovery
                                            14
                                                 protocol, utilize a single document depository and unified document
                                            15
                                                 identification system and adopt translation procedures——proposals
                                            16
                                                 which the court adopts below——but it is not clear that the Larson
                                            17
                                                 Group’s application is contingent on the implementation of these
                                            18
                                                 processes.
                                            19
                                            20                The Zelle Group also proposes a percentage fee, but one

                                            21   that is less keyed to litigation stages than that of either the

                                            22   Larson or Hagens Berman proposals.       The disadvantage of not

                                            23   tailoring a percentage to the stage of the litigation at which a

                                            24   recovery is obtained is the risk of a relatively higher percentage

                                            25   fee charged to the class for a recovery obtained at an early stage

                                            26   in the litigation.    To be sure, the stage of litigation is not
                                            27   precisely keyed to the amount of work entailed in obtaining a
                                            28   recovery, but is probably a fairly good proxy.        Thus, it would seem


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                                             1   appropriate that as the stages of the litigation advance, the
                                             2   percentage devoted to fees should reflect the likely greater amount
                                             3   of attorney work involved.1     It is possible that the undersigned’s
                                             4   reference to Judge Kaplan’s decision in In re Auction Houses
                                             5   Antitrust Litig, 197 FRD 71 (SDNY 2000), may have influenced the
                                             6   Zelle Group to structure its fee proposal as it did.           Due to the
                                             7   relatively low recovery at which no fee would be charged under the
                                             8   Zelle Group proposal, the amount of the Zelle Group’s fee at
                                             9   substantial levels of recovery would vastly exceed the fees in the
                                            10   Larson and Hagens Berman proposals.
For the Northern District of California




                                            11
                                                            The Hagens Berman proposal, like that of the Larson
    United States District Court




                                            12
                                                 Group, sets forth a fee percentage which increases with the stages
                                            13
                                                 of litigation and declines as the amount of the recovery rises.
                                            14
                                                 The stages of litigation set forth in the Hagens Berman proposal
                                            15
                                                 are very similar to those in the Larson Group proposal, all being
                                            16
                                                 logical steps in the litigation at which a recovery, if there is to
                                            17
                                                 be one, is likely to be obtained.        These proposals thus afford
                                            18
                                                 enhanced compensation to the lawyers as the likely amount of work
                                            19
                                                 involved in securing a recovery increases (and provides for a lower
                                            20
                                                 fee for early stage recoveries).      In this regard, the Larson and
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                                            22
                                                      1
                                            23         While others have argued for an increasing fee award as amount of the
                                                 award increases, see, e g, Jill E Fisch, Lawyers on the Auction Block:
                                            24   Evaluating the Selection of Class Counsel by Auction, 102 Colum L Rev 650,
                                                 679 (2002) (“The increasing percentage bid structure better addresses the
                                            25   moral hazard problem. By increasing the reward to counsel, increasing
                                                 percentage bids reduce the incentive for cheap settlements and motivate
                                            26   counsel to pursue high levels of recovery.”), this court is not convinced
                                                 that an increasing award structure would inure to the benefit of the class.
                                            27   In such cases, the class, which would be shouldering more risk in passing
                                                 up an early settlement offer, would ultimately receive less reward. Even
                                            28   increasing fee advocates, however, recognize that “[i]ncreasing fees are
                                                 particularly problematic in cases[, such as this,] in which the court cannot
                                                 readily predict the recovery at the time it selects counsel.” Id.

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                                             1   Hagens Berman proposals are superior to the Zelle proposal.
                                             2               The Zelle and Larson groups also propose a monetary cap
                                             3   on deduction from the class’s recovery for out-of-pocket expenses.
                                             4   The Hagens Berman proposal entails one fee that covers both
                                             5   compensation of attorneys and reimbursement of attorneys’ out-of-
                                             6   pocket expenses.   The court notes that expense caps of the Larson
                                             7   and Zelle proposals may be more problematic for the class than
                                             8   simply folding expense recovery into the fee as Hagens Berman
                                             9
                                                 proposes.   As expenses approach the expense cap, the existence of a
                                            10
                                                 cap might serve as a determent to incur the expense even if to do
For the Northern District of California




                                            11
                                                 so might be in the class’s interest.      The overall fee and expense
    United States District Court




                                            12
                                                 pool approach, on the other hand, avoids or, at least, militates
                                            13
                                                 against this potential conflict.      Furthermore, to the extent that
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                                                 services paid for by out-of-pocket expenditures and attorney inputs
                                            15
                                                 are substitutes one for the other, a reimbursement regime which
                                            16
                                                 promises one hundred cents on the dollar (full recovery) tends to
                                            17
                                                 encourage those expenditures relative to compensation keyed to a
                                            18
                                                 percentage of recovery.    The Hagens Berman proposal thus tends to
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                                                 put class counsel’s evaluation of attorney and non-attorney inputs
                                            20
                                                 on the same plane and affords an incentive to seek the optimal mix
                                            21
                                                 of the two.
                                            22
                                                             The court, in requesting bids from prospective counsel
                                            23
                                                 seeking recovery on behalf of indirect purchaser plaintiffs,
                                            24
                                                 understood fully that counsel, at this early stage of litigation,
                                            25
                                                 have limited information concerning the probability of a recovery
                                            26
                                                 and the amount or range of such recovery.       By contrast, plaintiffs’
                                            27
                                                 counsel in a fraud-on-the-market securities class action typically
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                                                                                      7
                                          Case: 1:13-cv-09116 Document #: 49-1 Filed: 05/09/14 Page 59 of 94 PageID #:510

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                                             1   have more readily available information to size up potential
                                             2   recovery than do counsel here.     The price movement of the security
                                             3   in question is known and the alleged unlawfully undisclosed or
                                             4   misstated information that distorted the price of the stock has
                                             5   come into the market when the typical fraud-on-the-market case
                                             6   commences.    While the amount of the price distortion and the period
                                             7   of distortion may not be completely apparent at the onset of a
                                             8   fraud-on-the-market class action, experienced counsel are
                                             9   nevertheless able to make reasonably astute estimates of the value
                                            10   of such litigation.    By contrast, potential recovery by indirect
For the Northern District of California




                                            11   purchaser plaintiffs in this litigation is subject to a greater
    United States District Court




                                            12   variety of imponderables. Nonetheless, Hagens Berman has presented
                                            13   a very impressive array of possible recovery scenarios that suggest
                                            14   a high level of analysis of potential recoveries.        This feature is
                                            15   what most distinguishes the Hagens Berman application from the
                                            16   others.
                                            17
                                                              The fee proposals likewise favor Hagens Berman.      As noted
                                            18
                                                 above, the expense caps proposed by the Zelle and Larson Groups
                                            19
                                                 give the court some hesitation.      The approach taken by Hagens
                                            20
                                                 Berman, which seeks to fold expenses into a total fee and expense
                                            21
                                                 deduction, is preferable.     Although Hagens Berman’s declining
                                            22
                                                 percentage fees at the larger recovery amounts may be less than the
                                            23
                                                 Larson or Zelle Groups’ proposal, as a practical matter the Larson
                                            24
                                                 Group’s lodestar multiplier cap may make it the lowest cost
                                            25
                                                 proposal——at least for some recovery amounts.        But this slight
                                            26
                                                 advantage is outweighed by the overall quality and relative
                                            27
                                                 sophistication of Hagen Berman’s analysis of the potential recovery
                                            28
                                                 that indirect purchaser plaintiffs may achieve.



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                                             1                                        II
                                             2              For these reasons, after reviewing all three high-quality
                                             3   proposals, the court finds that Hagens Berman will best be able to
                                             4   represent the interests of the indirect purchaser plaintiffs as
                                             5   interim class counsel in the above-captioned matter.          The court
                                             6   therefore APPOINTS the Hagens Berman firm as interim class counsel
                                             7   for indirect purchaser plaintiffs pursuant to FRCP 23(g)(3).
                                             8   Appointment of class counsel pursuant to FRCP 23(g)(1) will be made
                                             9
                                                 when and if a class of indirect purchaser plaintiffs is certified.
                                            10
                                                 As interim counsel, the Hagens Berman firm may coordinate its
For the Northern District of California




                                            11
                                                 efforts with additional counsel pursuant to its proposal and shall
    United States District Court




                                            12
                                                 identify, in a letter to the court submitted on or before June 18,
                                            13
                                                 2010, a discovery coordinator.
                                            14
                                                            Additionally, the court ADOPTS the administrative
                                            15
                                                 procedures put forth by the Larson Group.        Absent further order of
                                            16
                                                 court, on or before August 1, 2010, the parties are ORDERED to meet
                                            17
                                                 and confer in order to execute a single protective order and
                                            18
                                                 electronic discovery protocol, to establish a single document
                                            19
                                                 depository and unified document identification system and to adopt
                                            20
                                                 translation procedures.
                                            21
                                            22
                                            23              IT IS SO ORDERED

                                            24
                                            25                                      VAUGHN R WALKER
                                                                                    United States District Chief Judge
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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                              §
                                                    §
ONLINE TRAVEL COMPANY (OTC)                         §   Consol. Civil Action No. 3:12-cv-3515-B
HOTEL BOOKING ANTITRUST                             §
LITIGATION                                          §
                                                    §

     ORDER APPOINTING PLAINTIFFS’ INTERIM LEAD AND LIAISON COUNSEL

         Before the Court are two competing proposals for appointment of Plaintiffs’ Interim Lead

Counsel and Liaison Counsel. Upon consideration of the parties’ submissions, the proceedings at the

status conference held February 25, 2013, and the relevant factors listed in Federal Rule of Civil

Procedure 23(g) and the Manual for Complex Litigation (Fourth) § 10.22, the Court hereby

APPOINTS the law firm of Hagens Berman Sobol Shapiro LLP as Plaintiffs’ Interim Lead Counsel

and the law firm of Stanley Iola LLP as Plaintiffs’ Liaison Counsel. In doing so, the Court notes the

considerable experience and qualifications of both of the groups of attorneys seeking appointment.

         It is further ORDERED:

1.       Plaintiffs’ Interim Lead Counsel shall be generally responsible for coordinating the activities

         of Plaintiffs during pretrial proceedings and shall:

         a.     determine (after such consultation with co-counsel as may be appropriate) and

                present (in briefs, oral argument, or such other fashion as may be appropriate,

                personally or by a designee) to the Court and opposing parties the position of the

                Plaintiffs on all matters arising during pretrial proceedings;

         b.     coordinate the initiation and conduct of discovery on behalf of Plaintiffs consistent

                with the requirements of Federal Rule of Civil Procedure 26, including the
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                   preparation of joint interrogatories and requests for production of documents and the

                   examination of witnesses in depositions;

        c.         conduct settlement negotiations on behalf of Plaintiffs, but not enter binding

                   agreements except to the extent expressly authorized;

        d.         delegate specific tasks to other counsel or committees of counsel,1 as authorized by

                   the Court, in a manner to ensure that pretrial preparation for the Plaintiffs is

                   conducted efficiently and effectively;

        e.         enter into stipulations with opposing counsel as necessary for the conduct of the

                   litigation;

        f.         prepare and distribute periodic status reports to the parties;

        g.         maintain adequate time and disbursement records covering services as Lead Counsel;

        h.         monitor the activities of co-counsel to ensure that schedules are met and unnecessary

                   expenditures of time and funds are avoided; and

        i.         perform such other duties as may be incidental to proper coordination of Plaintiffs’

                   pretrial activities or authorized by further order of the Court.

2.      Plaintiffs’ Liaison Counsel shall:

        a.         maintain and distribute to co-counsel and to Defendants’ Liaison Counsel2 an

                   up-to-date service list;

        b.         receive and, as appropriate, distribute to co-counsel orders from the Court and

                   documents from opposing parties and counsel;


        1
       The Court may consider proposals for committees of counsel in the future but does not appoint any
committees at this time.
        2
            The Court will address the issue of liaison counsel for the Defendants in a separate order.
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        c.     maintain and make available to co-counsel at reasonable hours a complete file of all

               documents served by or upon each party except such documents as may be available

               at a document depository; and

        d.     establish and maintain a document depository if necessary.

3.      No communication among Plaintiffs’ counsel or among Defendants’ counsel shall be taken

        as a waiver of any privilege or protection to which they would otherwise be entitled.

4.      This Order appointing Plaintiffs’ Interim Lead and Liaison Counsel in no way lifts the stay

        of discovery imposed by the Court at the February 25, 2013 status conference and

        memorialized in the Court’s February 26, 2013 Order.



        SO ORDERED.

        DATED: March 1, 2013.



                                              _________________________________
                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE
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                                                                  Case: 1:13-cv-09116 Document #: 49-1 Filed: 05/09/14 Page 71 of 94 PageID #:522


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                                                                                                   UNITED STATES DISTRICT COURT
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                                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                     9
                                                                                                        OAKLAND DIVISION
                                                                    10
                                                                         IN RE LITHIUM ION BATTERIES               CASE NO. 13-MD-2420-YGR
                                                                    11 ANTITRUST LITIGATION
PEARSON, SIMON & WARSHAW, LLP
                                44 MONTGOMERY STREET SU TE 2450
                                 SAN FRANC SCO CAL FORN A 94104




                                                                                                                   MDL No. 2420
                                                                    12
                                                                                                                   The Honorable Yvonne Gonzalez Rogers
                                                                    13
                                                                                                                   [PROPOSED] ORDER APPOINTING
                                                                    14 This Document Relates to:                   INTERIM CO-LEAD COUNSEL AND
                                                                                                                   LIAISON COUNSEL FOR DIRECT
                                                                    15 ALL ACTIONS                                 PURCHASER PLAINTIFFS AND
                                                                                                                   APPOINTING INTERIM CO-LEAD
                                                                    16                                             COUNSEL AND LIAISON COUNSEL
                                                                                                                   FOR INDIRECT PURCHASER
                                                                    17                                             PLAINTIFFS
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                                                                         [PROPOSED] ORDER APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL FOR DIRECT
                                                                           PURCHASER PLAINTIFFS AND APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL
                                                                                                  FOR INDIRECT PURCHASER PLAINTIFFS
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                                                                     1              WHEREAS, the Court has received and considered applications for appointment as
                                                                     2 Interim Co-Lead Counsel and Liaison Counsel;
                                                                     3              WHEREAS, on April 3, 2013, at the Initial Case Management Conference, the
                                                                     4 Court considered the arguments and comments of counsel with respect to such
                                                                     5 appointments;
                                                                     6              WHEREAS, in the interest of securing the just, speedy, and inexpensive
                                                                     7 determination of these proceedings, pursuant to Federal Rules of Civil Procedure 1 and
                                                                     8 23(g)(3) and Local Civil Rules 1-2(b) and 16-10(b)(15), it is hereby ORDERED:
                                                                     9              1.    Interim Lead Class Counsel for Direct Purchaser Plaintiffs.
                                                                    10                    a.     Bruce L. Simon of PEARSON, SIMON & WARSHAW, LLP;
                                                                    11                    b.     R. Alexander Saveri of SAVERI & SAVERI, INC.; and
PEARSON, SIMON & WARSHAW, LLP
                                44 MONTGOMERY STREET SU TE 2450
                                 SAN FRANC SCO CAL FORN A 94104




                                                                    12                    c.     Joseph J. Tabacco, Jr. of BERMAN DEVALERIO
                                                                    13                           are appointed as Interim Co-Lead Counsel (“Co-Lead Counsel”) for
                                                                    14                           all Direct Purchaser Plaintiffs.
                                                                    15              2.    Interim Liaison Class Counsel for Direct Purchaser Plaintiffs. Judith A.
                                                                    16                    Zahid of ZELLE HOFMANN VOELBEL & MASON LLP is appointed as
                                                                    17                    Interim Liaison Class Counsel (“Liaison Counsel”) for all Direct Purchaser
                                                                    18                    Plaintiffs.
                                                                    19              3.    Interim Lead Class Counsel for Indirect Purchaser Plaintiffs.
                                                                    20                    a.     COTCHETT, PITRE & McCARTHY, LLP;
                                                                    21                    b.     HAGENS BERMAN SOBOL SHAPIRO LLP; and
                                                                    22                    c.     LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP
                                                                    23                           are appointed as Interim Co-Lead Counsel (“Co-Lead Counsel”) for
                                                                    24                           all Indirect Purchaser Plaintiffs.
                                                                    25              4.    Interim Liaison Class Counsel for Indirect Purchaser Plaintiffs. Jennie Lee
                                                                    26                    Anderson of ANDRUS ANDERSON LLP is appointed Interim Liaison
                                                                    27                    Counsel (“Liaison Counsel”) for all Indirect Purchaser Plaintiffs.
                                                                    28   854439.1                                 2                            13 MD 2420 YGR
                                                                         [PROPOSED] ORDER APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL FOR DIRECT
                                                                           PURCHASER PLAINTIFFS AND APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL
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                                                                    1              5.   Steering Committees for the Proposed Class. The constitution of the
                                                                    2                   Plaintiffs’ Steering Committees (“PSC”) for the proposed Direct Purchaser
                                                                    3                   and Indirect Purchaser classes shall be the subject of a separate Order. By
                                                                    4                   May 3, 2013, Co-Lead Counsel for the Direct Purchasers and for the Indirect
                                                                    5                   Purchasers shall make recommendations to the Court as to the firms who
                                                                    6                   should be appointed to their respective PSCs.
                                                                    7              6.   Duties and Powers of Co-Lead Counsel. Co-Lead Counsel shall be
                                                                    8                   responsible for the overall conduct of the litigation on behalf of their
                                                                    9                   respective proposed Plaintiff classes as follows:
                                                                   10                   a.     To promote the orderly and efficient conduct of this litigation and to
                                                                   11                          avoid unnecessary duplication and unproductive efforts;
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                                                                   12                   b.     To conduct all pretrial, trial, and post-trial proceedings on behalf of
                                                                   13                          their respective proposed Plaintiff classes;
                                                                   14                   c.     To sign any pleadings, motions, briefs, discovery requests or
                                                                   15                          objections, subpoenas or notices on behalf of their respective
                                                                   16                          proposed Plaintiff classes, but, in any event, no motion may be filed
                                                                   17                          nor discovery served by any Plaintiff without the approval of their
                                                                   18                          respective Co-Lead Counsel, absent leave of Court;
                                                                   19                   d.     To determine and present (either personally or by designee) in
                                                                   20                          motions, briefs, oral argument or such other fashion as may be
                                                                   21                          appropriate, the position of their respective proposed Plaintiff classes
                                                                   22                          as to all matters arising during pretrial, trial, and post-trial
                                                                   23                          proceedings;
                                                                   24                   e.     To act as spokesperson (either personally or by designee) for their
                                                                   25                          respective proposed Plaintiff classes at pretrial conferences;
                                                                   26                   f.     To conduct and coordinate discovery (either personally or by
                                                                   27                          designee) on behalf of their respective proposed Plaintiff classes
                                                                   28   854439.1                                 3                            13 MD 2420 YGR
                                                                        [PROPOSED] ORDER APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL FOR DIRECT
                                                                          PURCHASER PLAINTIFFS AND APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL
                                                                                                 FOR INDIRECT PURCHASER PLAINTIFFS
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                                                                    1                     consistent with the requirements of the Federal Rules of Civil
                                                                    2                     Procedure, including the preparation of interrogatories, requests for
                                                                    3                     production of documents, requests for admissions, and the
                                                                    4                     examination of witnesses in depositions, as well as any motion
                                                                    5                     practice related thereto;
                                                                    6               g.    To enter into stipulations (either personally or by designee) necessary
                                                                    7                     for the conduct of the litigation with opposing counsel;
                                                                    8               h.    To make and supervise all work assignments;
                                                                    9               i.    To monitor the activities of their respective proposed Plaintiff classes’
                                                                   10                     counsel and to implement procedures to ensure that schedules are met
                                                                   11                     and unnecessary expenditures of time and costs are avoided;
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                                                                   12               j.    To collect time and expense reports from each firm (either personally
                                                                   13                     or by designee), including paralegals and any other staff members
                                                                   14                     whose time is expected to be included in any fee petition, and to
                                                                   15                     review such time and expense reports;
                                                                   16                     i.     To this end, all Plaintiffs’ counsel shall contemporaneously
                                                                   17                            keep a daily record of their time spent and expenses incurred in
                                                                   18                            connection with this litigation, indicating with specificity the
                                                                   19                            hours and particular activities performed;
                                                                   20                     ii.    By the tenth day of each month, each firm that may seek an
                                                                   21                            award (or approval) of a fee or reimbursement of expenses by
                                                                   22                            the Court shall provide its corresponding Liaison Counsel (or
                                                                   23                            other designee established by Co-Lead Counsel), a report
                                                                   24                            summarizing, according to each separate activity, the time and
                                                                   25                            expenses spent by its attorneys, paralegals or staff during the
                                                                   26                            preceding month (and the ordinary billing rates of such
                                                                   27                            personnel in effect during the month) and the accumulated total
                                                                   28   854439.1                                 4                            13 MD 2420 YGR
                                                                        [PROPOSED] ORDER APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL FOR DIRECT
                                                                          PURCHASER PLAINTIFFS AND APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL
                                                                                                 FOR INDIRECT PURCHASER PLAINTIFFS
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                                                                    1                            of the firm’s time, hourly rates, and expenses to date;
                                                                    2                     iii.   All Plaintiffs’ counsel shall endeavor to keep fees reasonable
                                                                    3                            and to choose the most appropriate level of staffing for the
                                                                    4                            tasks required in this litigation; and
                                                                    5                     iv.    Co-Lead Counsel shall be responsible for preparing any
                                                                    6                            application for an award (or approval) of fees and
                                                                    7                            reimbursement of expenses by their respective proposed
                                                                    8                            Plaintiff classes, consistent with the Rules and Orders of this
                                                                    9                            Court. The provisions of this subparagraph do not limit the
                                                                   10                            discretion of Co-Lead Counsel in basing an allocation of a fee
                                                                   11                            award among Plaintiffs’ counsel based on hours, a percentage-
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                                                                   12                            based allocation, a combination of the two, or any other
                                                                   13                            reasonable method of allocation, consistent with the Rules and
                                                                   14                            Orders of this Court.
                                                                   15               k.    To make and collect assessments (either personally or by designee)
                                                                   16                     from some or all of their respective Plaintiffs’ counsel for the purpose
                                                                   17                     of paying the costs necessary to prosecute the case;
                                                                   18               l.    To ensure that work assignments are not given to any firm that has not
                                                                   19                     promptly submitted its time and expense records or paid its
                                                                   20                     assessments;
                                                                   21               m.    To employ and consult with experts;
                                                                   22               n.    To call meetings of their respective Plaintiffs’ counsel when deemed
                                                                   23                     appropriate;
                                                                   24               o.    To conduct settlement negotiations with defendants on behalf of their
                                                                   25                     respective proposed Plaintiff classes;
                                                                   26               p.    To ensure that all of their respective Plaintiffs’ counsel are kept
                                                                   27                     informed of the progress of this litigation as necessary; and
                                                                   28   854439.1                                 5                            13 MD 2420 YGR
                                                                        [PROPOSED] ORDER APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL FOR DIRECT
                                                                          PURCHASER PLAINTIFFS AND APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL
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                                                                    1                   q.     To otherwise coordinate the work of their respective Plaintiffs’
                                                                    2                          counsel, and perform such other duties as Co-Lead Counsel deems
                                                                    3                          necessary and appropriate based upon their judgment and
                                                                    4                          consideration or as authorized by further Order of the Court.
                                                                    5              7.   Duties of Liaison Counsel. Each Liaison Counsel may be the contact
                                                                    6                   between its respective Plaintiffs’ counsel and the Court for administrative
                                                                    7                   and scheduling purposes. Each Liaison Counsel shall (a) report upon any
                                                                    8                   communications from the Court to its corresponding Co-Lead Counsel; (b)
                                                                    9                   maintain and provide to plaintiffs’ counsel and to defendants’ liaison
                                                                   10                   counsel, if requested, an up-to-date service list; (c) be responsible for
                                                                   11                   collecting and reviewing the monthly time reports of all counsel in her case,
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                                                                   12                   and reporting to Co-Lead Counsel concerning the reasonableness of the time
                                                                   13                   and expense reported by counsel; (d) as requested by Co-Lead Counsel,
                                                                   14                   monitor the activities of Plaintiffs’ counsel to ensure that schedules are met
                                                                   15                   and unnecessary expenditures of time and funds are avoided, including the
                                                                   16                   collection of time records on a monthly basis; and (e) as requested by Co-
                                                                   17                   Lead Counsel, perform such other duties as may be incidental to proper
                                                                   18                   coordination of Plaintiffs’ pretrial activities or authorized by further order of
                                                                   19                   the Court. Co-Lead Counsel and Liaison Counsel may delegate certain time
                                                                   20                   collecting and reporting functions to an outside vendor to further the efficient
                                                                   21                   prosecution of this litigation.
                                                                   22              8.   Duties and Powers of PSCs. The duties and powers of the PSCs shall be the
                                                                   23                   subject of a separate Order. As set forth above, Co-Lead Counsel shall
                                                                   24                   recommend to the Court the attorneys who shall serve on the Steering
                                                                   25                   Committees in their respective cases. Upon appointment by the Court,
                                                                   26                   members of the Steering Committees shall operate under the supervision of
                                                                   27                   their respective Co-Lead Counsel and only do work that is assigned and
                                                                   28   854439.1                                 6                            13 MD 2420 YGR
                                                                        [PROPOSED] ORDER APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL FOR DIRECT
                                                                          PURCHASER PLAINTIFFS AND APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL
                                                                                                 FOR INDIRECT PURCHASER PLAINTIFFS
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                                                                    1                    approved by their respective Co-Lead Counsel. The PSCs will not have the
                                                                    2                    independent authority to assign work to other firms, and cannot do so
                                                                    3                    without the approval and consent of the Co-Lead Counsel in their respective
                                                                    4                    cases, nor shall the PSCs be authorized to convene meetings of counsel
                                                                    5                    without the prior approval and consent of said Co-Lead Counsel.
                                                                    6              9.    Service. Co-Lead Counsel and Liaison Counsel are hereby designated as
                                                                    7                    counsel for all of their respective Plaintiffs upon whom all notices, orders,
                                                                    8                    pleadings, motions, discovery, and memoranda which are not otherwise
                                                                    9                    served via the Court’s ECF system shall be served, and Defendants shall
                                                                   10                    serve papers on all Direct Purchaser Plaintiffs and Indirect Purchaser
                                                                   11                    Plaintiffs by serving the corresponding Co-Lead Counsel and Liaison
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                                 SAN FRANC SCO CAL FORN A 94104




                                                                   12                    Counsel. Liaison Counsel shall be responsible for maintaining a master
                                                                   13                    service list of all their respective parties and their respective counsel.
                                                                   14              10.   Binding Effect. Any agreement reached between Defendant(s) and Co-Lead
                                                                   15                    Counsel or their designee(s) in the Direct Purchaser litigation, shall be
                                                                   16                    binding on all other respective Plaintiffs’ counsel in that action. Any
                                                                   17                    agreement reached between Defendant(s) and Co-Lead Counsel or their
                                                                   18                    designee(s) in the Indirect Purchaser litigation, shall be binding on all other
                                                                   19                    respective Plaintiffs’ counsel in that action.
                                                                   20              11.   Privileges Preserved. No communication between or among any of
                                                                   21                    Plaintiffs’ counsel shall be taken as a waiver of any privilege or protection to
                                                                   22                    which Plaintiffs would otherwise be entitled.
                                                                   23              12.   This Order Terminates Dkt. Nos. 72, 74, 76, 85, 90, 91, 92, 94, 96, 98, 100,
                                                                   24                    101, 103, 104, 105, 106, 108, 118, 122 & 134.
                                                                   25              IT IS SO ORDERED.
                                                                   26 Dated: May 17, 2013
                                                                                                                             YVONNE GONZALEZ ROGERS
                                                                   27                                                      UNITED STATES DISTRICT COURT JUDGE

                                                                   28   854439.1                                 7                            13 MD 2420 YGR
                                                                        [PROPOSED] ORDER APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL FOR DIRECT
                                                                          PURCHASER PLAINTIFFS AND APPOINTING INTERIM CO LEAD COUNSEL AND LIAISON COUNSEL
                                                                                                 FOR INDIRECT PURCHASER PLAINTIFFS
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4                           UNITED STATES DISTRICT COURT

5                         CENTRAL DISTRICT OF CALIFORNIA

6                                    SOUTHERN DIVISION

7                                          - - -

8             THE HONORABLE JAMES V. SELNA, JUDGE PRESIDING

9
                IN RE: TOYOTA MOTOR
10              CORPORATION UNINTENDED
                ACCELERATION MARKETING,
11              SALES PRACTICES, AND
                PRODUCTS LIABILITY
12              LITIGATION.                         MDL-10-2151-JVS(FMOx)

13             ----------------------------

14

15

16                 REPORTER'S TRANSCRIPT OF PROCEEDINGS

17                           Santa Ana, California

18                                July 19, 2013

19

20                                 SHARON A. SEFFENS, RPR
                                   United States Courthouse
21                                 411 West 4th Street, Suite 1-1053
                                   Santa Ana, CA 92701
22                                 (714) 543-0870

23

24

25


               SHARON SEFFENS, U.S. DISTRICT COURT REPORTER
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                                                                          38


1    Mr. Berman's comments in that regard.            It has been a

2    privilege to appear before Your Honor, and we very much

3    appreciate the attention and time the Court has given to

4    this matter.      And I also join in Mr. Hooper's comments about

5    Mr. Juneau.     Thank you.

6                THE COURT:      Thank you.

7                Well, let me make a few concluding remarks.               I

8    reaffirm my conclusion that this settlement is fair,

9    adequate, and reasonable.         Moreover, it's extraordinary.

10   It's extraordinary in terms of the value that is being

11   conferred on class members.          It's extraordinary that every

12   single dollar allocated for distribution is going to a class

13   member.

14               So many class settlements I see come up with a

15   number that looks inviting in terms of potential liability

16   only to find that a relatively small portion of that number

17   actually goes to class members.           This settlement is

18   extraordinary in that every single dollar of the cash funds

19   will go to class members.         It is extraordinary in that the

20   claimants will receive 100 percent of the value of their

21   claims, not as measured by the Court, not as measured on a

22   litigated basis, but as measured by plaintiffs' own experts.

23               I believe that the plaintiffs own experts were in

24   the best position to value the worth of the economic loss

25   claims and other claims.         This settlement is extraordinary


               SHARON SEFFENS, U.S. DISTRICT COURT REPORTER
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                                                                          39


1    in terms of its complexity and its continued complexity.

2    The settlement with all of its moving parties when presented

3    to me in the settlement is a complex undertaking that

4    reflected a year of negotiation and thought on the part of

5    the parties, but the parties also exhibited flexibility of

6    getting the changing facts, dealing with the reduced number

7    of claimants, to ensure that as the settlement evolved that

8    it continued to be fair, adequate, and reasonable.                So I

9    think it's been extraordinary in many different respects.

10               It's also been extraordinary in the way this case

11   has been presented to me.         I have been in many large cases

12   on both sides of the bench.          I know extraordinary counsel

13   when I see extraordinary counsel, and the efforts here on

14   both sides have been truly extraordinary in terms of

15   professional competence, perseverance, and diligence.

16               Finally, I join all of you in thanking Pat Juneau.

17   He really was part of my assessment that this case has been

18   extraordinary.      His efforts to bring the parties together to

19   work through the problems and do all of that with good grace

20   I think has in itself has been an extraordinary undertaking.

21   He activities have been a true service to the Court and to

22   the parties.

23               So I thank you each of you for your courtesies

24   throughout.     Thank you.

25               One housekeeping matter, I would like to hold a


               SHARON SEFFENS, U.S. DISTRICT COURT REPORTER
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   Case: 1:13-cv-05795 Document #: 56 Filed: 10/11/13 Page 1 of 9 PageID #:713



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

                                       )
                                       )
IN RE: STERICYCLE, INC.,               )      Case No. 13 C 5795
STERISAFE CONTRACT LITIGATION          )      MDL No. 2455
                                       )
                                       )

                              MEMORANDUM ORDER

       This Court has been designated by the Panel on Multidistrict

Litigation to preside over this MDL proceeding.              As the first

substantive step in that proceeding, the appointment of interim

class counsel to represent the putative plaintiff class is called

for.    This memorandum order is issued to confirm this Court’s

choice of one from among the four well-qualified applicants for

that appointment:      in alphabetical order, Audet & Partners, LLP

(linked with other firms), Gordon & Rees, LLP, Grant & Eisenhofer

P.A. (linked with other firms) and Hagens Berman Sobol Shapiro

LLP.

       As indicated in the preceding paragraph, two of the four

applicants have tendered proposals in which the law firms named

in that paragraph would share the load with other firms, while

each of Gordon & Rees and Hagens Berman proposes to take on and

discharge the responsibility within the resources of its own

firm.    On September 18, in the course of an extended in court

proceeding--a proceeding that culminated in this Court’s ordering

the applicant firms to supplement their earlier submissions by

September 23 (as all four applicants have done since)--this
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Court’s oral articulation of its own views had expressed a strong

preference for the single firm model, so long as that firm

possessed the essential ingredients of high quality lawyering,

extensive experience, a track record of significant successes, a

lawyer complement adequate to the task--and the list of necessary

ingredients could go on.1

     This Court is of course well aware that Section 10.22 of the

Federal Judicial Center’s 2004 Manual for Complex Litigation:

Fourth (“Manual”) looks to a different pattern, with the form

suggested in Manual §40.21.2 providing for the designation of

lead counsel, liaison counsel and a Plaintiffs’ Steering

Committee.    But with all due respect, that multilayered format is

not one that fosters efficiency--instead it tends to promote a

duplication of effort via conferencing, as well as overlapping

work assignments and other inefficiencies too often attendant on

such a structure.      And that of course inevitably tends to

increase the lodestar figure without any corresponding increase


     1
        This should not at all be mistaken as a negative
reflection on the quality of the two applicants that have sought
to join with other firms. Although this Court has had no
personal experience with any of the law firms sought to be yoked
in the submission on behalf of the “Brucker Plaintiffs” (firms
whose curriculum vitae are quite impressive), it has in the past
dealt with Adam Levitt, the lead in-court presenter of the
proposal on behalf of the “Midgley Plaintiffs,” and attorney
Levitt and his law firm have acquitted themselves most admirably
in earlier litigation over which this Court presided. In sum,
what the decision has come down to is a choice from among four
well-qualified applicants (as this order has already said in its
first paragraph).

                                       2
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in meaningful lawyer output.2

       In any event, the choice between the two firms that do

propose to act on a self-contained basis has been a difficult

one.       Each of them has impressive credentials to satisfy each of

the factors identified in Fed. R. Civ. P. (“Rule”) 23(g)(1)(A):3

            (i) the work counsel has done in identifying or
       investigating potential claims in the action;

            (ii) counsel’s experience in handling class
       actions, other complex litigation, and the types of
       claims asserted in the action;

               (iii) counsel’s knowledge of the applicable law;
       and

            (iv) the resources that counsel will commit to
       representing the class.

And of course       23(g)(1)(B) understandably goes on to provide that

the court “may consider any other matter pertinent to counsel’s

ability to fairly and adequately represent the interests of the

class.”

       Both law firm finalists have tendered thorough and



       2
        It is recognized that others may have different views,
but it was not this Court that coined the aphorism that “A camel
is a horse designed by a committee.” What has been said in the
text reflects a sense forged during this Court’s many years in
the practice of law (including class action participation on both
sides of the “v.” sign) and more years of evaluating applications
for fee awards in class actions (a task that too often reveals an
excess of lawyers seeking to share the wealth).
       3
        Although those criteria reflect what a court “must
consider” in the ultimate appointment of class counsel, they
obviously have equal force in the designation of interim class
counsel.

                                       3
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informative submissions as to each of the four criteria set out

in Rule 23(g)(1)(A).       Although this Court has vetted those

presentations with equal thoroughness in reaching its decision,

it sees no useful purpose to be served in detailing them here.

Instead what follows will pick and choose some highlights simply

to illustrate both candidates’ first-rate credentials for

potential appointment.

     As for the first criterion, the Gordon & Rees team devoted

nearly a year (since October 2012) to the investigation of

Stericycle’s assertedly questionable activities in California, an

investigation that began after a Stericycle customer had come to

the law firm complaining about the fees and charges the customer

had been paying.      As for Hagens Berman, it hit the ground running

because counsel for a Stericycle insider (a former government

specialist for that company)--having earlier filed a 2008 qui tam

complaint under the False Claims Act--came to Hagens Berman to

ask it to bring what ultimately became the Lyndon Veterinary

Clinic action before this Court (13 C 2499).             Because of its

access to that whistleblower’s perspective and the sharing of

information with her qui tam counsel, Hagens Berman’s Complaint

provided more information than any other as to Stericycle’s

methodology and organizational structure.            And Hagens Berman has

since engaged in more active pursuit of the prosecution of the

putative class’ claims than Gordon & Rees (or the other two


                                       4
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candidates and their associated firms as well).

     In terms of the second criterion under Rule 23(g)(1)(B),

both competing firms (and especially their lead litigators) have

sterling credentials.       Gordon & Rees’ Miles Clancy has a wealth

of trial experience (incidentally including the defense as well

as the prosecution of class actions).           But it must be said that

the track record of Hagens Berman and its lead partner Steve

Berman is even more impressive, having racked up such

accomplishments as a $1.6 billion settlement in the Toyota

Unintended Acceleration Litigation4 and a substantial number of

really outstanding big-ticket results.

     It may be worth mentioning that to this Court’s recollection

it has had no first-hand judicial experience with either of the

two finalist firms--and it has been on the bench far too long to

have had litigation contact with either or their respective lead

partners while it was in the active practice of law.               But that is

not true of its colleagues in this District of more recent

vintage, an email inquiry to whom5 brought in return some high

praise of attorney Berman’s skills.



     4
        In that respect District Judges James Selna went out of
his way, at the windup of the case, in describing the settlement
as truly extraordinary--indeed unique--in terms of the benefits
conferred on the plaintiff class.
     5
        Under the Code of Conduct for United States Judges,
judge-to-judge communications are not of course subject to the
limitations applicable to other ex parte communications.

                                       5
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     Little need be said as to the third factor mentioned in the

Rule (“counsel’s knowledge of the applicable law”), for lawyers

of the quality demonstrated by the curriculum vitae that each of

the two firms has supplied unquestionably have the tickets to

bring their broad legal knowledge to bear on any particularized

problems that may be posed by the current litigation.                That is

certainly true as to issues regarding class actions as such

(knowledge that counsel already have in abundance), and there is

no reason to believe that it will not also prove true as to

whatever substantive issues the current litigation will pose.

     Lastly, each firm has pledged itself to commit all required

resources to the litigation.         This Court’s only initial pause in

reaching what had otherwise appeared to be a clear choice of

Hagens Berman6 stemmed from the Gordon & Rees emphasis on that

firm’s much larger size and, more specifically, its Chicago

presence (numbering 26 lawyers, in contrast to the Hagens Berman

three-lawyer office here).        But Hagens Berman’s supplemental

submission of September 23 has graphically demonstrated the




     6
        That choice was not made in terms of the primus inter
pares (“first among equals”) phrase often used to describe, for
example, the relationship between the Chief Judge of a District
or Circuit Court and his or her colleagues. Instead, obviously
with no offense intended, such a choice really echoes George
Orwell’s classic line from Animal Farm:

            Some animals are more equal than others.

                                        6
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fallacy inherent in simply looking at those numbers.7

     For one thing, Elizabeth Fagan (the managing partner of

Hagens Berman’s Chicago office) has outstanding credentials on

her own, and the Hagens Berman September 23 supplement confirms

the strength of support provided by the others in the Chicago

office as well.     But even more importantly in overall terms, that

September 23 response (emphasis in original) more than

convincingly refutes any claimed significance of the sheer

numerical comparison:

     According to Gordon & Rees’ website, just 3 of the 26
     lawyers in its Chicago office have class action
     experience, in comparison to the three lawyers in
     Hagens Berman’s Chicago office who are devoted
     exclusively to prosecuting large scale class actions.
     Moreover, according to the website, 49 lawyers at
     Gordon & Rees nationwide reflect that they have class
     action experience in comparison to the 53 lawyers at
     Hagens Berman whose primary focus is prosecuting class
     actions. Accordingly, Hagens Berman’s class action
     dedication for plaintiffs--and demonstrated
     results--overshadows Gordon & Rees’ traditional defense
     firm size.

                                  Conclusion

     In sum, this Court is pleased to designate the Hagens Berman

firm as the interim lead counsel, and it looks forward to that


     7
        This Court does not of course question the good faith of
Gordon & Rees in advancing a numerical contrast as part of its
own sales pitch. But again in terms of the raw numbers rather
than Gordon & Rees’ bona fides in advancing them, this Court has
been put in mind of Mark Twain’s quotation, in his Autobiography,
of a statement attributed to Disraeli:

     There are three kinds of lies:           lies, damned lies and
     statistics.

                                       7
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firm’s prompt pursuit of the matter in the manner outlined in its

submissions.    With that appointment having taken place, this

Court next poses a question to the Hagens Berman people.

     As part of the firm’s original application for appointment

as interim lead class counsel, Appendix A to that application set

out a proposed case schedule.         But that proposed schedule

specified its successive steps in terms of time frames such as

“Within -- days of appointment of Lead Class Counsel,” and it is

not clear from that designation whether the stated timetable was

intended to speak in relation to the current interim designation

rather than to the final appointment of class counsel.

Accordingly this Court orders a submission from the Hagens Berman

firm, on or before the scheduled October 17 status hearing,

expressly framed as a timetable in terms of the present posture

of the litigation.

     One final item.       As part of the supplemental submissions

requested by this Court on September 18, all of which were timely

responded to by the designated September 23 date, counsel were

asked to submit in camera their respective views on an

appropriate fee structure.        This Court’s views on that subject

have always conformed to our Court of Appeals concept “that

attorneys’ fees in class actions should approximate the market

rate that prevails between willing buyers and willing sellers of

legal services” (Silverman v. Motorola Solutions, Inc., Nos. 12-


                                       8
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2339 and 12-2354, 2013 WL 4082893, at *1 (7th Cir. Aug. 14),

citing to In re Continental Ill. Sec. Litig., 962 F.2d 566, 572

(7th Cir. 1992) and In re Synthroid Mktg. Litig., 264 F.3d 712,

718 (7th Cir. 2001) and 325 F.3d 974, 975 (7th Cir 2003)).                 And

this Court has always agreed with the Synthroid cases that

establishing fee schedules ex ante represents the preferred path

to take.8

     But because interim counsel do not invariably become the

ultimate class counsel (even though that is most frequently the

case), this opinion will not disclose the proposed terms that

have been submitted in camera by Hagens Berman.              Instead any

announcement of the ex ante determination as to fees will await

the occasion of the ultimate choice of lead class counsel.




                               Milton I. Shadur
                               Senior United States District Judge
Date:       October 11, 2013




        8
        Indeed, that premise seems to this Court to support a
procedure of inviting bidding up front--not in terms of an
“auction,” an unfortunate and inaccurate label that connotes
competition based on price alone, but rather a procedure that
also takes into account an evaluation of the quality of class
representation (much as this opinion has done). In fact, in
these days, when the old notion of long-term fixed relationships
between clients and law firms has been overtaken by market
concepts (the so-called “beauty contest” is an example of that),
private litigants frequently make their selections of counsel in
much the same manner that this Court has employed in what are
pejoratively and misleadingly characterized as “auctions.”

                                       9
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